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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Friday, June 23, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:17 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




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 1
                                   I N D E X
 2

 3                           DIRECT       CROSS    REDIRECT   RECROSS
     Christopher   Sakala    3,47,67
 4                           121

 5 Raphael Grant             40

 6 Colleen    Muldoon        61

 7 David Chatfield           72           89       100        103

 8 Ella Kubicz               107          117

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23                                                            Page

24 Reporter's Certificate                                     167

25 Concordance                                                178




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 1            THE COURT:     Good morning     , ladies and gentlemen.

 2 Sorry we didn't get precisely on time at                9 o'clock , but

 3 I had a sentencing that took little bit longer than                   I

 4 thought.      If you like this drill        , I propose to do the

 5 same thing next        Friday , which is more important because

 6 that's     July 4th weekend, so I will --           I have a matter

 7 that I've moved from         9:00 to 8:00 next Friday , and next

 8 week's matter is shorter          , much shorter, so we should be

 9 right off and running at           9:00 next Friday and get you

10 out of here early.

11            All right .     Y ou may proceed , Ms. Johnston.

12                    MS. JOHNSTON:      T hank you.

13                      FURTHER     DIRECT   EXAMINATION

14            BY MS. JOHNSTON:

15 Q.         Detective     Sakala , yesterday we had covered a

16 number of calls , and then there were some

17 surveillances.         I would like to go a little bit out of

18 order this morning       , but if we could , do you recall the

19 testimony yesterday concerning             the March 16th

20 surveillance at        Hayward    that was conducted?

21 A.         Yes.

22            THE CLERK:     It's not on that one?

23            MS. JOHNSTON:       No, it's not on that one.     The          TV

24 screen is remaining blue.

25            THE CLERK:     It's on the witness.




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 1            MS. JOHNSTON:      Is it on yours,        Detective    Sakala ?

 2            THE WITNESS:       Yes, it is.

 3            THE CLERK:      I'll have to call       , because    I don't

 4 know what's wrong.

 5            BY MS. JOHNSTON:

 6 Q.         At any rate,      Detective   Sakala , did you hear the

 7 testimony concerning surveillance that was conducted on

 8 that dat e and a gentleman arriving on              March 26?

 9 A.         Yes.

10 Q.         Did you have occasion to view the photographs

11 that have been marked as          Government's      Exhibits     227 A, --

12 marked as      P-227, P-227A and       P- 227 B.   D o you see those

13 three photographs?

14 A.         Yes.

15 Q.         Based upon your review of those photographs and

16 your familiarity with the case and other surveillances                    ,

17 do you recognize the individual depicted in those three

18 photographs?

19 A.         Yes.

20 Q.         Who is that?

21 A.         That's   Eugene    Bird .

22 Q.         Based upon your training and experience and the

23 telephone calls you intercepted --

24            MS . JOHNSTON:      Your Honor , may I publish these

25 to the jury since we can't put them on the screen                  ?




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 1            THE COURT:     Yes.

 2            BY MS. JOHNSTON:

 3 Q.         Based upon your training and experience and the

 4 intercept of calls involving           Mr. Bird as well as

 5 surveillance , did you form an opinion as to what

 6 occurred on       March 26 involving      Mr. Bird ?

 7 A.         Yes.

 8 Q.         What was that?

 9 A.         Mr. Bird was over there to purchase cocaine from

10 Ms. Martin.

11 Q.         What -- do you know that's why          Mr. Bird was

12 there ?

13            MR. MONTEMARANO :      Objection , Your Honor.

14            BY MS. JOHNSTON:

15 Q.         Based upon what intercepted calls did you base

16 that opinion?

17 A.         As -- I think it was on        Tuesday or maybe early

18 Wednesday , we had heard a call between             Mr. Bird and Ms.

19 Martin where he had ordered a half a plate from                   Ms.

20 Martin , the same as        Juanita gets , and we had heard

21 other calls where he had ordered drugs from her               .     T hat

22 was a pattern that we saw throughout the wire.

23 Q.         Are there additional calls with          Mr. Bird that we

24 did not include in this transcript book?

25 A.         Yes.




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 1 Q.         Because he's     not a defendant present here in the

 2 courtroom; is that correct?

 3 A.         That's correct.

 4 Q.         In addition to that      , we also heard surveillance

 5 that took place on or about           March 29 after the series

 6 of calls that we played between            Ms. Harden and     Ms.

 7 Martin.     Do you recall that testimony yesterday

 8 afternoon?

 9 A.         Yes.

10 Q.         Let me show you the photographs P          -28 A, B, C, D,

11 E and F and ask you to look at those photographs.             Do

12 you recognize the woman that's depicted in those

13 photographs?

14 A.         Yes.   It's Ruby Harden      , with the exception of

15 P-228 B, where there's no woman depicted.

16 Q.         Now in addition to recognizing          Ms. Harden, did

17 you recognize any vehicles that are depicted in those

18 photographs?

19 A.         In 228 B, C, D, E and F is Paulette          Martin's red

20 Mercedes.

21 Q.         You are familiar with that from various

22 surveillances?

23 A.         Yes.

24            MS. JOHNSTON:       Your Honor , if I could publish

25 P-228 A to the jury.




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 1            THE COURT:      You may.

 2            MS. JOHNSTON:     As well as      P-228 C, D, E and F,

 3 which depict        Ms. Harden.

 4            BY MS. JOHNSTON:

 5 Q.         Now, based upon your training and experience             ,

 6 was Detective        Mussleman 's testimony consistent with

 7 your opinion that you rendered yesterday?

 8 A.         Yes.

 9 Q.         Okay .    D id you form an opinion based upon his

10 testimony of the surveillance taken             --

11            MR. SUSSMAN :     I'm going to object      , Your Honor .

12 He's forming an opinion that's been placed in evidence

13 and seen by everyone.          I don't think that's an

14 appropriate subject for an opinion.

15            MS. JOHNSTON:       I'll rephrase the question.

16            THE COURT:     Rephrase the question.

17            BY MS. JOHNSTON:

18 Q.         Was there anything about        Detective    Mussleman's

19 testimony that was inconsistent with the opinion that

20 you rendered yesterday concerning the drug transaction

21 that occurred       on March 29 between       Ms. Harden and     Ms.

22 Martin ?

23            MR. SUSSMAN :     Same objection , Your Honor.

24            MR. WARD:     Objection , Your Honor .

25            THE COURT:     A pproach the bench




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 1                  (At the bar of the Court.)

 2         MR. WARD:      Your Honor, that's clearly a jury

 3 question .    H e's now vouching for his own testimony and

 4 for the testimony of      Mussleman .

 5         MS. JOHNSTON:        I merely asked him if there was

 6 anything in that testimony that changed his opinion                   .

 7 He's not vouching for anyone.

 8         THE COURT:     He's giving opinions on drug

 9 conversations , not make giving opinions on ultimate

10 questions for the jury.

11         MS. JOHNSTON:       He's also qualified as an expert

12 on how drug traffickers conduct their business and

13 that's the basis for the questions               , just not drug

14 trafficking    conversations.

15         THE COURT:     Ask your questions how drug

16 traffickers do their business          .       I don't want him

17 usurping questions for the jury that do that.

18         MR. SUSSMAN :       I might    -- what the question is

19 she's going to ask     , because      I can't see the question at

20 this point.     Obviously    Ms. Johnston doesn't like the

21 testimony    Officer   Mussleman      gave , but you've got        -- I

22 don't think she can rehabilitate him by him giving an

23 opinion about what      Officer    Mussleman        saw and whether

24 he's right in what he saw or he's wrong in what he saw                    .

25 His testimony is his testimony             .




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 1         He's already testified what he believed was

 2 going to occur.      He's going to come back now and say

 3 that despite    Officer    Mussleman 's testimony , he still

 4 believes what he's going to say before in that's what

 5 he said .

 6         MS. JOHNSTON:       I disagree with     Mr. Sussman .

 7 Detective   Mussleman     testified just as we had

 8 anticipated he'd testify yesterday.       There was nothing

 9 about his testimony that was different.             I've asked

10 this officer the same questions that          I've asked in

11 terms of previous surveillances.       There was

12 surveillance you heard       -- the surveillance was

13 consistent with what you heard in the telephone calls                 ,

14 or did you have an opinion to what occurred based upon

15 the surveillance.

16         THE COURT:      Whether or not the surveillance is

17 consistent with what's heard on the phone call            s is a

18 question for the jury to decide.

19         MS. JOHNSTON:      I 've asked the other questions

20 with other witnesses --

21         MR. SUSSMAN :      There's a continuing objection to,

22 obviously , all this line of testimony.        We've all noted

23 that we think it's objectionable, and for the purpose

24 of moving this along       we're not jumping     up like jacks in

25 the box every time it comes up.      This, specific        ally, I




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 1 would object to in addition to the standard objection.

 2            THE COURT:    I'm going to sustain the objection.

 3                         (Back in open court.)

 4            BY MS. JOHNSTON:

 5 Q.         In addition to the telephone calls that were

 6 interpreted involving        Ms. Harden that occurred on         March

 7 29, were there also other calls involving other members

 8 of this conspiracy that took place on that date?

 9 A.         Yes .

10 Q.         In terms of those other calls        , have you reviewed

11 them and have you formed opinions what was going on

12 with those calls , similar to what you           concluded

13 regarding     Ms. Harden and      Ms. Martin?

14 A.         Yes.

15 Q.         If we could then move to that other series of

16 calls that occurred on         March 29 of 2004 , beginning with

17 the calls B2095     and 2100 that occurred on -- that are

18 found on     Page 226 and 227.

19            THE CLERK:   Excuse me    , Ms. Johnston .    C ould I

20 get you just to put something up on the screen?          We're

21 trying to check the        TVs to see if everything is working

22 now, please.

23            MS. JOHNSTON:     Thank you.

24            THE CLERK:   Got it?

25            MS. GREENBERG:    It's on this one.




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 1          THE CLERK:    Okay .    T hank you.

 2          BY MS. JOHNSTON:

 3 Q.       Calling your attention to call B2095           and 2100.

 4          Are those two calls related?

 5 A.       Yes.

 6 Q.       Do those calls take place on the same date as

 7 the calls involving      Ms. Harden and Ms. Martin?

 8 A.       Yes.

 9 Q.       Who are the participants involve         d in 2095    and

10 2100?

11 A.       Paulette Martin and      Milburn    Bruce Walker.

12 Q.       What time frame did those calls take place?

13 A.       The first call was 1     :04 p.m. and the second call

14 was 1 :45 p.m.

15 Q.       If we could please play        Call 2095.

16          (Audio recording begins playing at 9          :29 a.m. )

17          (A udio recording stops playing at 9         :29 a.m.)

18          MS. JOHNSTON:     If we could play B2100.

19          (Audio recording begins playing          at 9 :29 a.m. )

20          (A udio recording stops playing at 9         :29 a.m. )

21          BY MS. JOHNSTON:

22 Q.       Now, who are the speakers in that call?

23 A.       Both cal ls it's    Paulette    Martin and    Milburn

24 Bruce Walker.

25 Q.       Based upon your training and experience and your




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 1 review of other calls in conducting this call            , did you

 2 form an opinion as to what was being arranged in these

 3 two calls?

 4 A.         Yes.

 5 Q.         What was that ?

 6 A.         Mr. Walker was arranging a meeting with          Ms.

 7 Martin to purchase cocaine from her.

 8 Q.         Approximately how soon -- strike that.

 9            On what time of the day did these cal        ls take

10 place?

11 A.         The first one is 1    :04 and the second one is

12 1:45.

13 Q.         All on    March 29?

14 A.         Yes.

15 Q.         Similar, was there a series of calls that took

16 place on     March 19 between    Ms. Martin,    Mr. Nunn and      Ms.

17 Levi?     On March 29?

18            MR. WARD:     I'm sorry , are you doing     March 19    or

19 March 29 ?

20            MS. JOHNSTON:     March 29 .

21            THE WITNESS:    Yes , there was.

22            BY MS. JOHNSTON:

23 Q.         Calling   your at tention   to the calls beginning at

24 A672 on    Page 218.     Is there a series of related calls

25 that take place on that date?




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 1 A.         Yes.

 2 Q.         What are those call numbers that are related?

 3 A.         A672, A674, B2093, 2149, 2152, 2155, and 2159.

 4 Q.         Over what pe riod of time did those calls take

 5 place ?

 6 A.         Th e first call is on       the 29th at 12:30 in the

 7 afternoon, that's      A672, and the       las t call is at 7 :18

 8 p.m. later that evening.

 9 Q.         If we could b egin by playing       Call A672 on     Page

10 218.

11            (Audio recording begins playing at 9        :31 a.m. )

12            (Audio recording stops playing at 9        :32 a.m. )

13            BY MS. JOHNSTON:

14 Q.         If we could go to the next call, A674        , on Page

15 219.   In reference to this call          , how many parties are

16 there to the call?

17 A.         There are actually three parties.      However, the

18 pertinent parties     , there   are two , Larry Nunn and

19 Paulette    Martin.

20 Q.         In this instance , is the entire call on the            CD

21 and in the transcript book         ?

22 A.         Yeah.   It's actually two calls together        .    T he

23 Larry Nunn call is a call waiting call that comes in                ,

24 but the machine , the intercept machine          , did not break

25 it up so it all runs as one call.




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 1 Q.        Even though it's actually two calls?

 2 A.        That's correct.

 3 Q.        At what time in the call is the          Larry Nunn

 4 portion of the call?

 5 A.        Two minutes and 36 seconds in.

 6 Q.        That would be on Page 221      ?

 7 A.        Yes.

 8 Q.        Okay.   And on Page 221     , does it reference       the

 9 click over to call waiting?

10 A.        Yes, it does.

11 Q.        If we could play just that portion of the call,

12 please.

13           (Audio recording begins playing at 9         :33 a.m. )

14           (A udio recording stops playing at 9        :3 3 a.m. )

15           BY MS. JOHNSTON:

16 Q.        If we could go to the       Call B2093 on Page 225.

17 Again, who are the parties to this call?

18 A.        Paulette   Martin and     Gwen Levi.

19 Q.        If we could play it     , please.

20           (Audio recording begins playing at 9         :34 a.m. )

21           (Audio recording stops playing at 9         :34 a.m. )

22           BY MS. JOHNSTON:

23 Q.        If we could now proceed to the next call          , B2149 ,

24 on Page 237.

25           Now , the calls in between         Call B2093 and the




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 1 next call we're going the play, 2149 on             Page 237 , are

 2 they the calls between       Ms. Walker and       Ms. Martin and

 3 Mr. Walker and Ms. Martin and         Ms. Harden     that we've

 4 already heard?

 5 A.       That's correct.

 6 Q.       If we could go to      B2149 on   Page 237.

 7          (A udio recording begins playing          at 9 :35 a.m. )

 8          (A udio recording     stops playing      at 9: 35 a.m. )

 9          MS. JOHNSTON:     And then if we could go to the

10 next call , B2152.     Is that the one we just play         ed,

11 Counsel?     If we could play 2152 on       Page 2 48.

12          (Audio recording begins playing at 9          :35 a.m. )

13          (A udio recording stops playing at 9         :36 a.m. )

14          BY MS. JOHNSTON:      And then B2155 on the next

15 page, 239.

16          (Audio r ecording starts       playing    at 9 :36 a.m. )

17          (Audio r ecording stops      playing     at 9 :37 a.m.)

18          MS. JOHNSTON:     Finally   , if we could play      B2951

19 on Page 240.

20          (Audio recording starts        playing    at 9 :37 a.m. )

21          (A udio recording stops      playing     at 9 :37 a.m. )

22          BY MS. JOHNSTON:

23 Q.       Based upon your training and experience           , did you

24 form an opinion as to what was occurring on              March 29 in

25 this instance between       Ms. Martin,    Mr. Nunn and Ms.




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 1 Levi?

 2 A.        Yes.

 3 Q.        What is that opinion?

 4 A.        During the calls , they're making arrangements

 5 for Ms. Martin to purchase 50 grams of heroin from                       Ms.

 6 Levi , which she then turns around and sells to                    Mr.

 7 Nunn, and those transactions took place at                  her house on

 8 Hayward   Avenue in     Takoma    Park.

 9 Q.        This would have been on         March 29 of 2004?

10 A.        Yes .

11 Q.        If we could turn to the first call on               Page 218.

12 Based upon your training and experience                , what is     Mr.

13 Nunn telling      Larry in response to her question            , did you

14 find out?

15 A.        On Page 221?

16 Q.        No, Page 218.

17 A.        I'm sorry .    What    Paulette   Martin is asking was

18 she said , Larry , did you find out         .       S he wants to know

19 how much heroin he wants to order           , and Mr. Nunn replies

20 that he's waiting for him to call me back                , meaning h e's

21 waiting for his customer to call him back and let him

22 know , and Ms. Mart in tells him , well , she's waiting on

23 me to call her , meaning         Gwen Levi is waiting on me to

24 tell her how much heroin she needs              .    A nd if the

25 transaction is not going to take place, she's going to




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 1 head on to    New York.

 2 Q.       Was there any significance to the reference to

 3 New York, base upon your training and experience?

 4 A.       That's where her heroin source is located           , Gwen

 5 Levi's heroin source.

 6 Q.       That would be        the individual    whose notebook we

 7 have used previously      ?

 8 A.       Mr. Uriarte , yes .

 9 Q.       Calling your attention to Page 221.         The portion

10 of the call between       Ms. Martin and       Mr. Nunn, what is

11 Mr. Nunn telling     Ms. Martin?

12 A.       Mr. Nunn calls back to          Ms. Martin and gives her

13 the quantity of heroin he needs          , which is 50 grams of

14 heroin , referring to his 50 of the tickets.

15 Q.       Fifty of the tickets refers to what?

16 A.       Heroin , 50 grams of heroin.

17 Q.       If you could please write Page 221 on our chart

18 next to the word     "tickets ".

19 A.       (Witness indicating.       )

20 Q.       And then the next call that we reference           d was

21 B2093 , which happens approximately how many minutes

22 after the last call?

23 A.       2093 takes place at 12         :52 , and the previous call

24 with Larry Nunn was at approximately 12            :44 and the call

25 waiting so about eight minutes later.




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1 Q.          The significance there         , the 50 tickets to the

2 show?

3 A.          Yes.

4 Q.          Refers to what?

5 A.          Actually,   I want to correct my         previous    answer .

6 I don't think it's eight minutes               because the    Joan

7 Johnson     call ended at 12       :52 .   S he clicked back to the

8 call she w as previously           ended at 12 :52 , and this call

9 happened immediately after she hung up at 12                 :52 .    S o it

10 wasn't eight minutes       .     S he confirms in   Call B2093 , 50

11 grams of heroin to Gwen           Levi.

12 Q.         If you could write Page 225 on our chart                 next to

13 the word    "tickets ".

14 A.         (Witness indicating.       )

15 Q.         And then the calls       B2149, 2152, 2155       and 2159 ,

16 are there any code words used in those calls for drugs?

17 A.         In 2149 , there's no code words used.             Ms. Levi

18 just says she'll be there in about 20 minutes to                    Ms.

19 Martin's house.     2152       , it's the same thing except          Mr.

20 Nunn says he'll be there in about 25 minutes.            And in

21 2155 , again , no code words , just Ms. Levi informing                    Ms.

22 Martin that she's parking in front of the house.

23 Q.         And then B2159 ?

24 A.         I'm sorry , the final call between          Ms. Nun n [sic]

25 and Ms. Martin , again , no code words .            H e's just




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 1 informing her that he'll be there in a few minutes.

 2 Q.       And those calls , based on the pattern of calls               ,

 3 is the basis of your opinion that it            was drug

 4 transaction s on that date ?

 5 A.       Yes.   Completely consistent.

 6 Q.       That happened also on       March 29; is that correct?

 7 A.       Yes.

 8 Q.       Now , before we go to      March 30    and the calls that

 9 occurred on that date     , I think to accommodate the

10 surveillance agents     , we skipped a call that happened on

11 March 27 , or at least one that we intended to play on

12 March 27,   B1965.    Do you have that in front of you?

13 A.       What page number is that       ?

14 Q.       Page 216.

15 A.       Yes.

16 Q.       And who are the parties to that call          ?

17 A.       Luis Mangual    and Paulette       Martin.

18 Q.       And the date and time of the call?

19 A.       That's on the     March 27 at 10 :08 p.m.

20 Q.       If we could play that call, please.

21          (Audio recording begin       playing    at 9:4 3 a .m. )

22

23          (A udio recording     stops playing     at 9 :4 3 a.m. )

24          BY MS. JOHNSTON:

25 Q.       The parties to that conversation         ?




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1 A.        Paulette    Martin and     Luis Mangual .

2 Q.        Based on your training and experience           , what are

3 they discussing?

4 A.        Ms. Martin is calling          Mr. Mangual   and asking him

5 -- stating that he had called her and told her that he

6 had gotten some new novels in            , meaning he had received

7 a new shipment of cocaine.         He confirms that he has         ,

8 saying yes, ma'am      .   A nd then she orders a kilogram to

9 be dropped off the next morning by saying              , if you're

10 not doing anything in the morning           , if you can -- and

11 you're out on the street        , drop one    pass ed here so   I can

12 read them , ordering the drugs.          He confirms it just

13 saying he's in      Richmond.

14 Q.       And the code word for kilogram of cocaine in

15 this call is what?

16 A.       Referred to them as novels.

17 Q.       During this conversation         , did Ms. Martin give

18 him the name of a particular novel she wanted?

19 A.       No.

20 Q.       Or even an author for that matter?

21 A.       No .

22 Q.       If you could on the chart         , either find the word

23 "novels " as code word already up there or add it to the

24 list.   That would be on        Page 216.

25 A.       (Witness indicating.       )




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 1 Q.        Detective    Sakala , we've heard everything

 2 reference d in these call s to book, novels and

 3 autobiographies .       A re you familiar with the searches

 4 that were conducted at both        Mr. Mangual 's residence as

 5 well as   Ms. Martin's residence and her school?

 6 A.        Yes.

 7 Q.        Was there any indication that        Mr. Mangual        was a

 8 book seller?

 9 A.        No, he was not .

10 Q.        Or a book distributor?

11 A.        No, he was not.

12 Q.        If we could now move forward to March 30 of

13 200 4, in particular      Call B2179 on Page 241.          And who

14 are the parties to this conversation?

15 A.        Paulette    Martin and   Derrick   Bynum .

16 Q.        What time does it take place on March 30?

17 A.        Took place at 7 :47 a.m.

18 Q.        If we could play this call, please           .

19           (Audio r ecording begins      playing    at 9 :46 a.m. )

20           (Audio r ecording    stops playing      at 9 :47 a.m.)

21           BY MS. JOHNSTON:

22 Q.        Based upon your training and experience             , what

23 are Ms. Martin and       Mr. Bynum discussing ?

24 A.        They're    discussing an amount of money that              Mr.

25 Bynum has paid       Ms. Martin, referring to it in the




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 1 fourth line down,       Ms. Martin says it's 13,2 in here,

 2 meaning there's supposed to be $13,200.

 3           Mr. Bynum says to look in there.        She says she's

 4 counting it .     S he doesn't see the extra        200, saying     I

 5 don't see    the extra    two inside , meaning the      miss ing

 6 200 .    Mr. Bynum says if it's not by itself         , then it's

 7 not in there , referring to the missing $200.

 8 Q.        Now, if we could go to the next call, B2245 on

 9 Page 243.     Is that call related to the telephone call                ,

10 B2258?

11 A.        Yes, it is.

12 Q.        Okay.   Who are the parties to these calls?

13 A.        Paulette   Martin and   Milburn    Bruce Walker .

14 Q.        If we could play B2245 on Page 243, please.

15

16           (Audio recording     begins   playing    at 9 :48 a.m. )

17           (Audio recording     stops playing      at 9 :48 a.m. )

18           MS. JOHNSTON:    If we could play B2258.

19           (Audio recording starts       playing    at 9 :49 a.m. )

20           (Audio recording     stops playing      at 9 :49 a.m.)

21           BY MS. JOHNSTON:

22 Q.        Based upon your training and experience          , what

23 are Ms. Martin and       Mr. Walker discussing in those two

24 calls?

25 A.        The first call on the evening of the          30 th , Mr.




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1 Walker is checking to see if           Ms. Martin is going to be

2 around in the morning the next day           , and Mr. Walker says

3 he wants to meet before         9:00 or so , around      9:00 .    She

4 says that would be fine.

5           The next morning at 8        :24 , they talk and    Ms.

6 Martin confirms the size        , excuse me , the quantity of

7 drugs that      Mr. Walker wants by       say ing what   size outfits

8 you want for your kids       , refer ring to    what quantity of

9 drugs do you want.        Mr. Walker replies an eight        ,

10 referring to either an eight       h o f an ounce or eighth of

11 a kilogram , and Ms. Martin then confirms whether he

12 wants powder or crack.     She says eight finished          ,

13 referring to crack     , and Mr. Walker confirms that he

14 does want crack not powder.

15 Q.       Okay.     I think we have the word outfits already

16 up on our chart; is that correct?            I f you could write

17 the Page N o. 244 next to it , please.

18 A.       (Witness indicating.     )

19 Q.       If you could also note the word          "finish " under

20 "outfit ", as referring to crack.

21 A.       (Witness indicating.     )

22 Q.       Calling your attention to the next call,                B2326

23 on Page 245.     Who   are the parties to this call and on

24 what date does it take place?

25 A.       This is    Paulette   Martin and    Luis Mangual        on




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 1 March 31 at 4 :17 in the afternoon.

 2 Q.       If we could play it     , please.

 3          (Audio    recording begins     playing   at 9 :51 a.m. )

 4          (Audio recording stops playing a         t 9 :51 a.m. )

 5          BY MS. JOHNSTON:

 6 Q.       And again , based on your training and

 7 experience , what are     Mr. Mangual     and Ms. Martin

 8 discussing in this conversation?

 9 A.       Ms. Martin is ordering another kilogram of

10 cocaine from      Mr. Mangual , referring to it in the fourth

11 line down , asking him if he's going to have anymore of

12 those novels tomorrow night or         Friday morning.     He

13 re plies,   yes , he will.

14          Ms. Martin then goes on        to say a buddy of mine

15 is coming in for a funeral       , which was not happening       ,

16 and that he heard that the books were real good             , just

17 saying that she wanted another kilogram           , and then she

18 goes on , you think you can grab one -- you think you

19 can grab him one while he's here        , just saying again she

20 wants another kilogram       , and she just wanted to make

21 sure.

22 Q.       Okay.    And again , the code words in that

23 conversation for kilo of cocaine were what?

24 A.       Novels.

25 Q.       Is there another word also used in there for




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 1 kilo of cocaine?

 2 A.         Books on the second reference.

 3 Q.         If you could note Page 245 next to          "books " as

 4 the code word.       And then also next to        "novels " as the

 5 code word.

 6 A.         (Witness indicating.)

 7 Q.         If w e could turn to the next call, B2232 on              Page

 8 246 , please.       And who are the parties to this

 9 conversation?

10 A.         Joan Johnson and     Paulette    Martin.

11 Q.         Who is    Ms. Johnson    in relation to    Ms. Martin?

12 A.         She was an associate/friend.

13 Q.         Are we listening to just a portion of the call?

14 A.         That's correct.

15 Q.         If we could play that portion of the call that's

16 reflec ted on Page 246.

17            (Audio recording begins playing at 9         :54 a.m. )

18            (Audio r ecording stops      playing   at 9 :54 a .m. )

19            BY MS. JOHNSTON:

20 Q.         Based on your training and experience         , what are

21 Ms. Martin and        Ms. Johnson   discussing in this portion

22 of the conversation?

23 A.         Drug transaction between        Ms. Martin and    Ms.

24 Johnson.

25 Q.         Is there any code words used in this




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 1 conversation?

 2 A.         Yes.    The first line that      Ms. Martin's speaking      ,

 3 she says you told me $75         , meaning you had told me you

 4 wanted $75        worth of   cocaine , but I put two $50

 5 quantities of cocaine in the envelope           , referring    to it

 6 as tickets.         I put two, 50envelope tickets in the        --

 7 she's saying she 'd given her $100 worth of cocaine as

 8 oppose d to the $75.

 9            Ms. Johnson didn't ask her if she put a little

10 something in there for her friend           , Orlando,   and Ms.

11 Martin replies , yes , and Ms. Johnson compliments her

12 that she's a remarkable woman.

13 Q.         Now, in terms of the use of the word          "envelope "

14 here , is that used as a code word or just the             method

15 that it was packaged?

16 A.         I think that's just how the drugs were actually

17 packaged inside the envelope.

18 Q.         "Tickets ", what does that refer to?

19 A.         That refer s to the actual drugs, cocaine.

20 Q.         If you could write the        Page No. 246 next to the

21 code word    "tickets ".

22 A.         (Witness indicating.     )

23 Q.         If you continue with the calls on March            31st,

24 going to    Call 2353 on       Page 247 .   Who are the par ties to

25 this conversation?




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 1 A.        Paulette    Martin and    Lavon "Becky"    Dobie .

 2 Q.        What time does this call take place?

 3 A.        This was on March 31 at       7 p.m.

 4 Q.        And again , are we listening to only a portion of

 5 the call?

 6 A.        That's correct.    From four minutes and 50

 7 seconds in to seven minutes and 32 seconds in               .

 8 Q.        If we could play it, please.

 9           (Audio   record ing begins    playing    at 9 :56 a.m. )

10           (Audio recording     stops playing      at 10 :01 a.m. )

11           BY MS. JOHNSTON:

12 Q.        Based upon your training and        experience,       is

13 there any reference to drug activity in this call by

14 Ms. Dobie?

15 A.        Yes.

16 Q.        Where does that occur and what opinion do you

17 have in reference to        that?

18 A.        On Page 247 , they're talking about her pending

19 court case and       Ms. Dobie says , if I can get my hand on

20 a c ouple of tickets , I can make out on them             , m ea ning if

21 I can get my hands on some drugs to sell            , I can make

22 money .

23           The next page on     Page 248 , Ms. Dobie about the

24 fifth reference down says       , Tuesday coming , so that

25 means I've got to make abracadabra quickly            .     S he means




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 1 I've got    to get the drug s and sell them quickly the

 2 money.

 3 Q.         How much money does she need to make?

 4 A.         Further down , they're talk ing about paying the

 5 lawyer to keep her on the street and beat the charge              ,

 6 and Ms. Dobie s ays the cost for the lawyer is $3,000.

 7 Q.         If we could turn to the next call        , B235 4 on Page

 8 250.     What i s the date an d time of this call?

 9 A.         March 31st , 2004 , at 7 :16 p.m.

10 Q.         Who is it between?

11 A.         Reece Whiting     and Paulette    Martin.

12 Q.         If we could play this call       , please .

13            (Audio   recording begins    playing at 10: 00 a.m. )

14

15            (Audio   recording stops    playing    at 10 :00 a.m. )

16            BY MS. JOHNSTON:

17 Q.         Based upon your training and experience         , is

18 there any significance to this portion of the call?

19 A.         Yes.

20 Q.         What is that?

21 A.         Mr. Whiting     is calling to see if     Ms. Martin has

22 drugs to sell by saying        , I'm over here , I'm just

23 wondering , you know .       A nd Ms. Martin says she doesn't

24 have anything , she says        I ain't forgot you.      As soon as

25 I hear something , meaning as soon as she hears




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 1 something ab out drugs , you will be the first one                 I

 2 call .   I t's like that,     Brother , it's rough , meaning she

 3 doesn't have drugs to sell him         , and then she follows

 4 up , if you hear anything      , let me know , meaning if he

 5 hears anything on a source of supply          , let her know.          He

 6 says that he will.

 7 Q.       Now if we could turn to the second volume of

 8 calls.   Beginning with call B2383 on Page             251, on what

 9 date and time is this call?

10 A.       April 1st , 2004 , at 5 :32 in the morning.

11 Q.       And again , is this just a portion of the call

12 that's transcribed?

13 A.       Yes , from one minute in to two minutes and 30

14 seconds in .

15 Q.       If we could play this        , please.

16          (Audio recording begins         playing    at 10 :02 a.m. )

17                  (A udio recording stops          playing   at 10 :04

18 a.m. )

19          BY MS. JOHNSTON:

20 Q.       Who are they referring to here when they talk

21 about "Becky" ?

22 A.       Lavon "Becky"      Dobie .

23 Q.       Based upon your training and experience             , is

24 there any significance to the fact that              "Becky 's "

25 coming over in the middle of the night banging on the




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 1 window ?

 2 A.         Yes.

 3 Q.         What is that?

 4 A.         They're complaining about her coming over to

 5 purchase drug s in the middle of the night and the

 6 problems it's causing them sleeping and then disturbing

 7 peace in the neighborhood.

 8 Q.         Also on    April 1st, did a call take place, B2401

 9 on Page 253?         Who are the parties to that call?

10 A.         Paulette    Martin and   Derrick   Bynum .

11 Q.         At what time does that call take place on           April

12 1st?

13 A.         2:07 p.m.

14 Q.         If we could play that call , please.

15            (Audio r ecording starts     playing    at 10 :05 a.m. )

16            (Audio r ecording stops     playing    at 10 :05 a.m. )

17            BY MS. JOHNSTON:

18 Q.         Based upon    your training and experience      , what is

19 Mr. Bynum asking her when he says we             ain't ready yet?

20 A.         He's looking to purchase another kilogram just

21 like he had purchased the other day.

22 Q.         A kilogram of what?

23 A.         Cocaine.

24 Q.         Now there's a reference to dropping          Mr. John

25 Martin off at the subway.




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1 A.        Yes.

2 Q.        Okay.   Are you familiar with whether           Mr. John

3 Martin was employed at that time?

4 A.        Yes , I am.

5 Q.        Where was he working?

6 A.        He was a bus driver for         Metro.

7 Q.        Was it unusual for      Ms. Martin to take him and

8 drop him off?

9 A.        No.    She did that -- well      , I shouldn't say she

10 did it every day.      He had to be at wo         rk twice a day .

11 He had a split shift      .   S ome days he would drive     , but

12 frequently she would drop him off so she would have the

13 car.

14 Q.       And the   car that she would use to transport him

15 was what car ?

16 A.       Red Mercedes.

17 Q.       If we could turn to the next -- this call occurs

18 at what time?

19 A.       The one we just heard?

20 Q.       The one we just played      .

21 A.       2:07 p.m. on     April 1st.

22 Q.       B2403 on Page 255     , what time does this call take

23 place?

24 A.       2:09 p.m. on     March --   April 1st.

25 Q.       Who are the parties to this call           ?




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1 A.        Paulette    Martin and    George     Harris.

2 Q.        Mr. Harris being who?            Who is   Mr. Harris?

3 A.        Associate, customer of           Ms. Martin's .

4 Q.        If we could play       Call B2403 on Page 259.

5           (Audio recording begins           playing    at 10 :07 a.m. )

6                   (Audio     recording stops        playing   at 10 :07

7 a.m. )

8           BY MS. JOHNSTON:

9 Q.        Based upon    your training and experience           , what

10 are Ms. Martin and      Mr. Harris discussing in this call?

11 A.       Mr. Harris is ordering a quantity of cocaine

12 from Ms. Martin , referring to it at the bottom               , she

13 asks what quantities      , saying what show are you             going

14 to.   He confirms the quantity by saying the eight

15 o'clock show , referring to        either an eighth of kilogram

16 or eighth of an ounce of cocaine.

17 Q.       Could you mark 255 next to that code word                 "show "

18 on our board?

19 A.       (Witness indicating.)

20 Q.       Now calling your attention to next call              , B2412.

21 On what date an d time does this call take place?

22 A.       This is    April 1st,    3 :37    p.m.

23 Q.       Okay.   And is it the same parties as the call we

24 just listened to?

25 A.       Yes.    Paulette    Martin and      George    Harris.




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 1 Q.        If we could play call B2412 on Page 257          .

 2           (Audio    recording begins    playing   at 10 :09 a.m. )

 3                    (Audio recording    stops playing     at 10 :09

 4 a.m.)

 5           BY MS. JOHNSTON:

 6 Q.        Based upon your training and experience          , what

 7 has occurred between         Ms. Mart in and   Mr. Harris ?

 8 A.        They're discussing money that         Mr. Harris just

 9 paid for the drugs that were referenced in             the previous

10 call.

11 Q.        Is there any significance to         Mr. Harris saying

12 I'll come back , I'm sorry?

13 A.        Yes.     That he shorted her on the money, she had

14 said I gave him a $ 1.25 , meaning $125.          He apologizes

15 and says he's       going   to go back there , which would

16 identify the amount in the previous deal as a            n eighth

17 of an ounce of cocaine.

18 Q.        How do you reach that conclusion?

19 A.        From the amount of money      , it would correspond to

20 the eighth that he was talking about in the previous

21 call.

22 Q.        Court's indulgence one moment.

23           If we could go to the next calls in the book,

24 B24 14.   Who are the parties to that call?

25 A.        Paulette    Martin and   John Martin , her boyfriend.




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 1 Q.       Is that related to call B2415?

 2 A.       Yes.

 3 Q.       As well as 2427?

 4 A.       Yes.

 5 Q.       On what date     an d time period do those three

 6 calls take place?

 7 A.       All three took place on        April 1st,    the first one

 8 at 3 :59 p.m ., and the last one at 4        :21 p.m ., with the

 9 space of about 23 minutes.

10 Q.       Do those calls take place before or after the

11 surveillance that      Detective   Schrier    told us about at

12 the end of the day yesterday where he observed              Ms.

13 Martin writing down his tag number?

14 A.       They took place shortly after he's burned.

15 Q.       He's what?

16 A.       Burned.

17 Q.       And "burned " is a term --

18 A.       It's a term that we use      , it's on discoveries or

19 surveillance , you're burned , you're toast , you're made.

20 Q.       If we could begin by playing those calls 2414 on

21 Page 2 58.

22          (Audio recording begins        playing   at 10 :11 a.m. )

23                  (Audio   recording stops     playing    at 10 :11

24 a.m. )

25          BY MS. JOHNSTON:




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 1 Q.         In looking at    Call B2414 after       Ms. Martin says

 2 but they    tried all kinds of vehicle          s, there's a word

 3 minimized in par entheses ?

 4 A.         Yes.

 5 Q.         What does that refer to?

 6 A.         It means that    the monitoring equipment was

 7 turned off.       In this case     , the call was a pertinent

 8 call.   We had a problem          dur ing the wire that the

 9 machine , the monitoring equipment            , would automatically

10 turn off.    It would detect something in the line

11 thinking the call had been terminated             , and then the

12 machine immediately starts a new call             , which is

13 actually the same call          , but it just divides it into two

14 calls so this call rolls into 2415.

15 Q.         If we could play 2415 on Page 259.

16            (Audio recording       begins playing    at 10 :12 a.m. )

17                    (Audio recording      stops playing at      10 :13

18 a.m.)

19            BY MS. JOHNSTON:

20 Q.         In those two calls      , what where    Ms. Martin and

21 Mr. Martin discussing?

22 A.         They're discussing       Officer    Scheirer 's vehicle ,

23 and Ms. Martin's relating the story of how she

24 discovers the vehicle       .     A nd on Page 258 , they're

25 talking about whether the vehicle belongs to law




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 1 enforcement , and Ms. Martin says they drive all kinds

 2 of vehicles , referring to law enforcement or police

 3 officers .

 4          And then further on on Page 259          , in the next

 5 call , Mr. Martin     is talking about the neighbor causing

 6 a commotion by saying there it go           , there it go , that

 7 that's not good either        , referring that that draws

 8 attention to everybody that they knew the car was

 9 there , including the police       , so they would want to keep

10 it low -key.

11 Q.       Now, going back to Page 258          , there's a reference

12 to an individual named         Mike .

13 A.       Yes.

14 Q.       Did you determine who that was a reference to?

15 A.       That's    Mr. John    Martin's brother , who's a police

16 officer with      Metro politan   Police Department.         They're

17 -- Paul ette 's talking about giving the tag to              Mike to

18 run it to see who owns the -- who the car belongs to               .

19 Q.       If we could go to the next call,           B 427.    Who are

20 the parties to this call?

21 A.       Paulette    Martin and Mary Carole.

22 Q.       Who is    Mary Carole ?

23 A.       A friend of     Ms. Paulette       Martin's who she would

24 refer to as her daughter.

25 Q.       If we could play it now        .




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1             (Audio r ecording begins playing at 10       :15 a.m. )

2             (Audio recording     stops playing at    10 :16 a.m.)

3             BY MS. JOHNSTON:

4 Q.          Based upon your training and experience         , what is

5 Ms. Martin asking       Ms. Carole to do in this call?

6 A.          She's giving her the tag of the vehicle that she

7 spotted and asking       Mike, the     MPD officer , to run it and

8 find out if the car is a police car          , referring to it as

9 a it's an authority figure on           Page 261 , and then again

10 on Page 26 2, that she wants to know if it's an

11 authority figure , meaning that she wants to know if

12 it's a police car.

13 Q.         Now, based upon your training and experience          , is

14 there any significance        to Ms. Martin's instructions on

15 Page 26 1 to make up some kind of lie?

16 A.         Yes.   She's telling     Mary to make up a story or

17 tell Mary -- to have        Mary tell Mike an untrue story

18 about how or why they need to know about the tag.

19 Q.         I want to show     you what's been marked as

20 Government's      Exhibit   Hayward   2 and ask you if you're

21 familiar with this calendar        , 2004 calendar.

22 A.         This is a calendar that was retrieved from

23 Paulette    Martin's residence.

24 Q.         Calling your attention in particular to the page

25 with the red tab.     Do you recognize any of the




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1 information on that page?

2 A.          Yes.

3 Q.          What is that?

4 A.          This contains the tag that was relay         ed to Mary

5 Carole   in Call 24 27 , Virginia       John King Adam 7402.

6 Q.          I'm going to put it up on the screen so everyone

7 can see that.

8             During this time , did you -- was there -- based

9 upon your review of the intercepted cal            ls, were there

10 any calls placed by        Ms. Martin to local police

11 authority , either       Takoma   Park police or the     Prince

12 George's     County police or the      Montgomery     County police?

13 A.         No, there were not.

14 Q.         Now , if we could turn to the next call        , B2429

15 on Page 26 3.      What date does this call take place?

16 A.         This was on     April 1st at   4:24 p.m.

17 Q.         The same date     as these calls   we've been playing?

18 A.         Yes .

19 Q.         Including the calls      about the surveillance

20 officer?

21 A.         Yes.

22 Q.         And the calls with      Mr. Harris ?

23 A.         Yes.

24 Q.         And the earlier call with       Mr. Bynum ; is that

25 correct?




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 1 A.       That's correct.

 2 Q.       Okay .   I f we could play       B2429 on    Page 26 3.

 3          (Audio r ecording begins         playing    at 10 :19 a.m. )

 4          (Audio r ecording stops         playing    at 10 :20 a.m.)

 5          BY MS. JOHNSTON:

 6 Q.       Based upon your training and experience             , what

 7 are Ms. Martin and      Mr. Bynum discussing in this call?

 8 A.       They're talking about a couple of things on                 Page

 9 26 3.   Mr. Bynum says he's on his way over            , and then he

10 starts to ask did you      , and then she finishes the

11 sentence , get the other ticket you wanted             , referring to

12 did she get the kilogram of cocaine he wanted in

13 addition to his regular purchase of 62.

14          She says no, not yet.           I told you    I have to pay

15 for those tickets when          I get them .    I n other words ,

16 they're not fronted     , so she has to pay for the entire

17 kilo gram , and she has to wait          a minute until the show       ,

18 mean ing she has to wait         until she    has the money t o

19 purchase the entire kilogram         .

20          On the top of     Page 26 4,        Mr. Bynum is talking

21 about another source of cocaine that she might be

22 interested in , saying do you want to try some

23 Per uvian- style tickets.         Ms. Martin    says she's not

24 interested in another source         , saying      I don't want

25 nothing from no island      .




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 1 Q.         Now, again , we've had some code words used here.

 2 If you could reflect on the chart the page numbers for

 3 the word     "ticket " on Page 263          and "show " on Page 263

 4 and "ticket " on Page 26 4.

 5 A.         (Witness indicating.        )

 6            MS. JOHNSTON:        Your Honor , at this time , we're

 7 going to recess his testimony to bring in                   Detective

 8 Grant to do some surveillance observations he made on

 9 April 1st.

10            THE COURT:       A ll right.

11            (Witness excused at 10           :22 a.m. )

12            (W itness   resumes the         stand at 10 :23 a.m. )

13            MS. GREENBERG:        Your Honor, this witness has

14 testified before.       H    e is still under oath        , if this's

15 satisfactory .

16            THE COURT:       He remains under oath.

17                    FURTHER      DIRECT      EXAMINATION

18            BY MS. GREENBERG:

19 Q.         Sir , were you also conducting surveillance in

20 connection with        Detective      Eveler and the other agents       '

21 investigation on or about             April 1st,    2004?

22 A.         Yes, ma'am.

23 Q.         And were you conducting surveillance that day

24 where?

25 A.         810 Hayward      Street.




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 1 Q.       Are you familiar as to          whether   or not any other

 2 agent s that day were conducting surveillance?

 3 A.       If I can refer to my notes          , I can will tell you

 4 the agents .      M yself and   Detective    Scheirer .

 5 Q.       Do you recall if anything in particular happen                ed

 6 to Detective      Scheirer   that day ?

 7 A.       Yes .    His surveillance was lo       cated by the -- by

 8 someone in     Detective     Eveler's   wiretap investigation.

 9 Q.       About the surveillance         s that you're about to

10 testify to the jury      , did your surveillances occur

11 before, during , or after        Detective    Scheirer    got noticed

12 by the targets of the investigation?

13 A.       After.

14 Q.       Did that change how you did things?

15 A.       Yes, it did.

16 Q.       How was that?

17 A.       We didn't stay on the location anymore.          We

18 stayed off -site , which there was a church a c            oup le of

19 blocks away , and Detective        Eveler would tell us when he

20 wanted us to drive by the location and get tag numbers

21 or see what was going on.

22 Q.       So you wouldn't -- you didn't sit outside             , you

23 just drove by ?

24 A.       Exactly.

25 Q.       Was there a pole camera operating            at the




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 1 residence ?

 2 A.         Yes , there was.

 3 Q.         Could you see your vehicle going by on the pole

 4 camera ?

 5 A.         Yes , you can .

 6            MS. GREENBERG:      Your Honor , that's already

 7 introduced into      evidence.      I don't think , because      of

 8 the technological difficulties         , we need to play it a         t

 9 this time .

10            BY MS. GREENBERG:

11 Q.         Did you make a record of what         you observed?

12 A.         Yes, ma'am.

13 Q.         Just to be clear , you indicated        -- what time did

14 your surveillance start that day         ?

15 A.         It started at 3 :07 p.m.

16 Q.         What does that reflect?     Does that re     flect the

17 time you went over to the church?

18 A.         Right.   It's the time     I'm in the area do in g the

19 surveillance, yes.

20 Q.         But your testimony is you didn't start do         in g the

21 drive -by --

22            MR. MONTEMARANO :     Objection.

23            BY MS. GREENBERG:

24 Q.         Did you start doing the drive      -bys before or

25 after Detective      Scheirer    got notice d?




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 1 A.       After.

 2 Q.       What was the time of the first             drive- by you did?

 3 A.       I did a drive- by at 3 :23 p.m. and a            drive- by at

 4 4:42 p.m.

 5 Q.       Could you tell the jury what you             observed i n the

 6 area of 810     Hayward   Avenue , Tacoma       Park , Maryland .

 7 A.       There was a green       Nissan       Maxima there , and a

 8 black male driver got out and enter             ed the residence.

 9 Q.       Were you able to photograph             or record that?

10 A.       No.

11 Q.       But whatever rec ordation            is on the pole camera?

12 A.       That 's correct .

13 Q.       What observation did you make at approximately

14 4:42 p.m .?

15 A.       It was a black      Nissan   Quest with Maryland tags

16 ADD 42 W parked at the residence          .

17 Q.       What residence are we talking about?

18 A.       I'm sorry , 810 Hayward       Street.

19 Q.       Did you get the tags on the green             Nissan   Maxima ?

20 A.       No , I didn't.

21 Q.       Did you personally conduct any research into who

22 the car was registered to?

23 A.       The Nissan    Quest ?

24 Q.       Yes.

25 A.       Yes.     I probably ran it when          I got back to the




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 1 station that night.      I did run it and        I attached it to

 2 my surveillance notes.

 3 Q.       And pro vided that to whom ?

 4 A.       Detective    Eveler .

 5 Q.       Thank you.

 6          MS. GREENBERG:       No further questions      , Your

 7 Honor.

 8          THE COURT:    Any cross-examination?

 9          MR. MONTEMARANO :       None , Your Honor .     T hank you.

10          MR. MARTIN:      Mr. Goodwin has none      , Your Honor.

11          MR. HALL:    No , Your Honor.

12          MR. MITCHELL:     No , Your Honor.

13          MR. WARD:     No , thank you , Your Honor.

14                  THE COURT:      A nyone else?    All right   .    Y ou

15 may step down.    Thank you very much.

16          (Witness excused at 10      :27 a.m. )

17          THE COURT:      Ms. Johnston , why don't we take a

18 morn ing recess now?     Let's resume at quarter of 11            :00.

19                  (Jury excused at 10:27 a.m.)

20                  (Off the record      at 10 :27 a.m. )

21                  (On the record at 10      :47 a.m. )

22          MR. SUSSMAN :     Can we have a moment to raise a

23 brief matter?

24          THE COURT:    Yes.

25          MR. SUSSMAN :     Your Honor , as the      Court recalls ,




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 1 I object ed to a certain line          of questions    as regards to

 2 Detective    Sakala , and I specifically objected to it            ,

 3 although    I believe that we've preserved the notion that

 4 there's a sustaining objection to the nature of his

 5 testimony.

 6            THE COURT:     There's a continuing objection to

 7 his testimony interpreting the meaning of the words in

 8 these phone     calls .

 9            MR. SUSSMAN :     Well, I think it exceeds the coded

10 words is our understanding and gets out to the

11 transactions what's actually occurring behind the

12 closed doors     and the like .       I just want to clarify -- I

13 want to make a special objection.         It's not something

14 that I find something particularly egregious             , but the

15 continuing objection remains --

16            THE COURT:     Y ou have a continuing object     ion.

17 I've permitted him to be           qualified to give opinions

18 about the    meanings of the words used and           about the

19 nature of the drug business and how people conduct

20 them.

21            What I have drawn the line is at is a ruling                I

22 don't want him giving an interpretation of something

23 that is for the prov       ince of the jury , but he's

24 certainly able to       , like a    Spanish translator   , tell me

25 what this language means and to explain the nature of




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 1 the drug business       , and you have a continuing objection

 2 to that.

 3            MR. SUSSMAN :      Tha nk you , sir.

 4            THE COURT:    Counsel , I'm up here sipping orange

 5 juice , not coffee , because I have a bad, bad cold.              So,

 6 I'm looking forward to going home and going to bed when

 7 we finish today.

 8                  (W itness     Sakala resumes the stand.      )

 9            MR. HALL:     Your Honor , while we're waiting          for

10 the jury , I wanted to alert the          Court of one thing.        On

11 Tuesday , Judge Williams has scheduled a very brief

12 motion .    H e was going to schedule it          dur ing the lunch

13 break , but I wanted to inform the          Court that he does

14 expect me over at his courtroom at              1 o'clock.

15            THE COURT:    At lunchtime?

16            MR. HALL:    Yes , at 1 o'clock.

17            THE COURT:    All right.    We'll get you out of

18 here.   Remind me that morning.

19            MR. HALL:     I will remind you that morning.

20            THE COURT:    So    I don't get you in contempt of

21 court with my colleague         .

22            MR. HALL:    I f I do get held in contempt        , you

23 will be the first to hear about it          .

24            THE COURT:    W e'll bail you out.

25            THE CLERK:    Judge, are you ready       ?




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 1          THE COURT:     Y es.

 2                   (Jury returns at 10      :50 a.m. )

 3          THE COURT:     You may proceed.

 4          MS. JOHNSTON:        Thank you.

 5                     FURTHER    DIRECT   EXAMINATION

 6          BY MS. JOHNSTON:

 7 Q.       Detective     Sakala , you just heard the testimony

 8 of Raphael      Grant ; is that correct?

 9 A.       Yes.

10 Q.       Are you familiar with          the two vehicles he

11 described?

12 A.       Yes.

13 Q.       Whose vehicles were they?

14 A.       The first on e was George         Harris;    the second one ,

15 the van , was Derrick      Bynum 's .

16 Q.       If we could go back to the calls             --

17          THE COURT:      I didn't hear the second one,         Ms.

18 Johnston.

19          THE WITNESS:         Derrick   Bynum .

20          THE COURT:      Derrick    Bynum , okay.

21          BY MS. JOHNSTON:

22 Q.       If we could go back and continuing with calls on

23 the evening of      April 1st,     2004 , calling your attention

24 to B2436 , that call is on         Page 26 5.     Again , are we

25 listening to just a portion of that telephone call?




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 1 A.       Yes.

 2 Q.       Who are the parties to that call?

 3 A.       Paulette    Martin and   LaNora   Ali .

 4 Q.       If we could please play it.

 5          (Audio r ecording begins playing at 10          :51 a.m. )

 6          (Audio    recording stops playing at 10        :51 a.m. )

 7          BY MS. JOHNSTON:

 8 Q.       Based upon your training and experience           , wh at 's

 9 the significance      of this call?

10 A.       The first line there     , Paulette       Martin is asking

11 Ms. A li the size of and the amount of the drugs she

12 wants to purchase     , referring to as just the one

13 magazine.       Ms. Ali says she has to make sure        , meaning

14 that she has to check with somebody else.               Paulette

15 Martin says , I need to know that because            I may have

16 some people in here and then          Ms. Ali says she'll call

17 her back.

18 Q.       Based upon your training and experience           , what 's

19 the significance of there being other people in              Ms.

20 Martin's house?

21 A.       Because she's -- what she's going to do is

22 prepare the amount ahead of time         , so when Ms. Ali comes

23 over , she can just hand her the package without doing

24 it in front of everybody else.

25 Q.       The term    "magazine ", then , refers to what?




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 1 A.         Quantity of cocaine.

 2 Q.         Could you add   "magazine " to our list of code

 3 words?     I don't believe it's up there yet.

 4 A.         (Witness indicating.    )

 5 Q.         We could go to the next call       , B2443.     What date

 6 and time does this call take place?

 7 A.         This is the same date       , April 1st,    2004 , at 7 :19

 8 p.m.

 9 Q.         Is it related to call        B2448 on Page 267 ?

10 A.         Yes.

11 Q.         Who are the parties to those two calls           , B2443

12 and B2448?

13 A.         Paulette   Martin and   Luis Mangual .

14 Q.         When do they take place?

15 A.         The first one takes place at 7        :19 p.m ., and the

16 second one at 7:51 p.m. on         April 1st .

17 Q.         If we could proceed to play B24          43 on Page 26 6.

18            (Audio   recording begins playing at 10        :54 a.m. )

19            (Audio recording    stops playing        at 10 :54 a.m. )

20            MS. JOHNSTON:   If we could play the next call              ,

21 B2448 on    Page 267 .

22            (Audio   recording begins      playing    at 10 :54 a.m. )

23            (Audio recording    stops playing        at 10 :54 a.m. )

24            BY MS. JOHNSTON:

25 Q.         Based on your training and experience          , what are




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 1 Ms. Mart in and    Mr. Mangual     arranging in these two

 2 calls?

 3 A.       Mr. Martin is ordering another kilogram of

 4 cocaine .   O n the fourth      line down on       Page 26 6, she

 5 refers to as , do you still have the           Reader's     Digest      I

 6 was going to ask you about yesterday           .     I believe    the

 7 last code   word she use d in the previous calls was

 8 novels, now it's      Reader's    Digest .

 9          Mr. Mangual    says , I sure do.      And then further

10 down , she says that        she'd like   to get it tonight       , that

11 night , the 1st , if she can , and Mr. Mangual            says he

12 would call her back     .     A nd the next call on 267      , about

13 -- I guess about a half hour later           , Mr. Mangual       is on

14 his way over to the house with the drugs.

15 Q.       All right.    And based upon your training and

16 experience , are these calls related to the call we

17 heard before the break        , Call B2429 on       Page 263 and 26 4

18 between Ms. Mart in and Mr. Bynum ?

19 A.       Yes , where she was try ing to get all her money

20 together to pay     for the kilogram,        this would be the

21 continuation.

22 Q.       Calling your attention to B2506            , if we could

23 play that call , please , on Page 27 1.            When   does this

24 call take place?

25 A.       This takes place on the next day            , April 2nd , a




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 1 little after noon      , at 12 :22 p.m.

 2 Q.        And is this call , based on your training and

 3 experience , related to the calls between Mr.              Mangual

 4 and Ms. Mar tin ?

 5 A.        Right .    S he received the drug   s the previous

 6 night , and now they're getting together the next day to

 7 sell to     Mr. Bynum the} kilogram she just receive             d.

 8 Q.        If we could play B2506 on        Page 27 1.

 9           (Au dio recording begins       playing   on 10 :56 a.m. )

10           (Audio recording     stops playing at      10 :57 a.m. )

11           BY MS. JOHNSTON:

12 Q.        And the time of that call is what?

13 A.        I'm sorry ?

14 Q.        The time of that call was what?

15 A.        12 :22 p.m. on    April 2nd.

16 Q.        Now , did you have occasion to review a pole

17 cam era video in relation to that telephone call             ?

18 A.        Yes, I have.

19 Q.        If you could -- we    've heard the      term " pole

20 camera ".     C ould you explain to the ladies and gentlemen

21 of the jury what a pole camera is?

22 A.        Yes.    It's a essentially      -- not to be overly

23 simplistic       -- a camera that sits on a pole.       It's a

24 video camera that we had establish         ed in the

25 neighborhood of       Ms. Martin's house that had a view of




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 1 the front street portion off to her left           .   A s you view

 2 the videotapes , you will see her porch and many -- and

 3 many instances , the door that has been referenced            , the

 4 basement door , is as if you're walking up to the house

 5 from right to left on the        video screen is around to the

 6 right side of the house.

 7           That is monitored back.     That video picture is

 8 monitored back at our -- the listening           post, and we're

 9 able to , in a certain extent      , control the camera by

10 allowing it to zoom and pan and tilt to a certain

11 extent.   It's not an instantaneous movement on the

12 camera , and we're able to see what's going on in front

13 of the house given if there's enough light.

14           In some circumstances     , the picture's good enough

15 to get tag numbers     ; in other cases , it's not .        A nd that

16 camera is then attached to a time         -lapse VCR , which runs

17 all the time.    When the tapes run out        , w e change it.

18 The time -lapse VCR allows us to use a regular videotape

19 which might only be two to three hours          , and that can go

20 depending on     how the   VCR is set   up to 8, 12 or      even 24

21 hours , which is why sometimes when you watch the tape

22 from the pole cam    , the image     will be   -- appear jumpy

23 because the     VCR is only tak ing a picture , capturing a

24 frame off the video image       , say every second or every

25 half second or every two seconds        , whatever it's set at.




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 1 Q.       During what period of time did you have the pole

 2 camera in operation outside of         Ms. Martin's address?

 3 A.       Yeah.   We set it up on       March 20   and it ran

 4 continually until the end of the -- until the arrest on

 5 June 1st.

 6 Q.       Now, were there any difficulties you           experienced

 7 with the operation of the pole camera?

 8 A.       Yes.    In fact, you watch some of the tape         s, the

 9 screen will go blue     , which mean    the signal    i s traveling

10 over tel ephone lines , back from the camera to our

11 monitoring spot , so if we lost a telephone line or if

12 it disconnected, if someone forgot to change the tape                ,

13 the tape would get taped over.       So there were problems.

14 It wasn't a perfect system.

15 Q.       If we could , then -- did you review a portion of

16 the video was retrieved from the pole camera on              April

17 2nd of 2004?

18 A.       Yes.

19          MS. GREENBERG :     Now with the     Court's permission         ,

20 we're going to try to play it.          I don't think that the

21 one television screen is working so we only have one

22 monitor for the jury.

23          Your Honor , may our technical person see if she

24 can jog that one ?

25          THE COURT:    S ure.   Come on up.




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 1          MS. JOHNSTON:      Thank you   , Your Honor.

 2          BY MS. JOHNSTON:

 3 Q.       Could you tell us what we're observing            here in

 4 the video?

 5 A.       On the far left side of the screen is the porch

 6 for the residence the 810        Hayward .   You can see the

 7 sidewalk going up the stairs       , the side doors around to

 8 the right .     I n the front of the house     , you see    Mrs.

 9 Martin 's red    Mercedes   Benz parked to the curb.

10          The vehicle    pulling up is     Mr. Bynum parking on

11 the far right side of the screen.       And as you can see,

12 we're manual ly moving the camera a little bit to get a

13 better picture of his vehicle        , and th at 's done from the

14 listening post.

15 Q.       Do you recall the description of his vehicle?

16 A.       It's a pickup truck.        I don't recall the exact

17 tag.   It was later located, the vehicle, at his

18 residence.

19 Q.       We're going speed it up a little bit here.

20 A.       Mr. Bynum exiting the vehicle.

21          (The video is playing throughout.         )

22          THE WITNESS:       As he approaches the right side of

23 the house , he moves around toward the base            ment door on

24 the right side of the picture.

25          BY MS. JOHNSTON:




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1 Q.        Can we speed forward a little bit?

2 A.        That was probably one of our surveillance cars

3 driving by right then.

4 Q.        Why do you say that?

5 A.        Because of the incident with         Detective    Scheirer ,

6 we moved everybody --        I had moved everybody out of the

7 neighborhood and didn't place any cars in the

8 neighborhood so we wouldn't have any further

9 difficulties with being burned         .   S o then when someone

10 would show up , we would have them go by the house and

11 obtain the tag number.

12 Q.       Is Mr. Bynum returning from the area of the

13 basement door back to the -- back to the truck?

14 A.       And he departs the area in his vehicle.

15 Q.       Were surveillance agents sent to any location

16 that afternoon?

17 A.       Yeah , we sent them over to his address on             Ray

18 Road to confirm the truck was there         , and I believe it's

19 registered to him at the residence at the             address   on

20 Ray Road.

21 Q.       If we could just pause the video here and we'll

22 come back to that in a few moments.        In addition to

23 those calls and transaction with          Mr. Bynum , were there

24 also a series of calls involving          Gwendolyn    Levi and

25 Larry Nunn and Ms. Martin on April          2nd as well?




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 1 A.       Yes , starting with call 2461.

 2 Q.       What are the group of calls that relate to their

 3 contact on    April 1st and April 2nd        of 2004?

 4 A.       I'm sorry    I didn't hear that.

 5 Q.       What are the calls that relate to call B2461?

 6 A.       2461, 62, 2512, 2524     , 2531.

 7 Q.       Okay .    N ow at what date and t    ime does call B2461

 8 on Page 268 take place?

 9 A.       That starts at 7 :51 p.m. on the          1s t and the last

10 call is on    April 2nd   at 1 :37 p.m.

11 Q.       If we could play those calls beginning with

12 B 246 1 , what is the date and time of that call?

13 A.       I'm sorry, yeah     I was wrong.     10 :26 p.m. is the

14 first call in this series on         April 1st on 2461.

15 Q.       Who the are the pa     rties to    this call ?

16 A.       Larry Nunn and Paulette        Martin.

17 Q.       If we could play it as well.

18          (Audio r ecording begins playing at 11           :06 a.m. )

19          (Audio    recording stops    playing     at 11 :07 a.m. )

20          BY MS. JOHNSTON:

21 Q.       Calling your attention to the next call,             B246 2,

22 on Page 270.      At what time does that call take place in

23 relation to the call we've just listened to?

24 A.       This is -- this takes place immediately after

25 Paulette hangs up.     She    calls Gwen Levi.




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 1 Q.       If we could play this call       , please.

 2          (Audio r ecording begins playing at 11         :07 a.m. )

 3          (Audio recording      stops playing      at 11 :08 a.m. )

 4          BY MS. JOHNSTON:

 5 Q.       Now , if we could -- were those the two calls on

 6 April 1st ?

 7 A.       Yes.

 8 Q.       If we could play -- turn the         Call B2512 on     Page

 9 27 2.   Is call the next day?

10 A.       Yes, it is.    The morning of --         I guess noon on

11 April 2nd   at 12 :39 p.m.

12 Q.       If we could play 2512 at        Page 27 2.

13          (Audio r ecording begins       playing    at 11 :08 a.m. )

14          (Audio recording      stops playing      at 11 :08 a.m. )

15          BY MS. JOHNSTON:

16 Q.       And B2524 on    Page 27 3, the time of that call?

17 A.       1: 13 p.m. on the     2nd.

18 Q.       If we could please play that call.

19          (Audio r ecording begins       playing    at 11 :09 a.m. )

20          (Audio recording      stops playing at      11 :09 a.m. )

21          BY MS. JOHNSTON:

22 Q.       And B2531 on    Page 27 4, what time is that call?

23 A.       1:37 p.m. on the      2nd.

24 Q.       If we could play it     , please.

25          (Audio recording begins playing at 11          :09 a.m.)




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1             (Audio recording stops playing at 11          :09 a.m.)

2             BY MS. JOHNSTON:

3 Q.          Based upon your training and experience, did you

4 form an opinion as to what occurred between                Ms. Martin,

5 Ms. Levi , and Mr. Nunn on April 2nd           of 2004?

6 A.          Yes.

7 Q.          What is that?

8 A.          The previous night    , Mr. Nunn had ordered 50

9 grams of heroin from          Ms. Martin.   She made the

10 arrangements to get the heroin from           Ms. Levi.     That was

11 delivered to her the next day on           April 2nd .    She then

12 turned around and sold that heroin to           Mr. Nunn .

13 Q.         Okay.   If we could go back to      Page 268.     Is

14 there a code word used in reference to the 50 grams of

15 heroin?

16 A.         Mr. Nunn says , in the fourth line down         , 50 of

17 those tickets , referring to 50 grams of heroin.               Ms.

18 Martin confirms 50.     And they discuss in the morning              ,

19 and then    Mr. Nunn says that that amount may change.

20 What is the deadline        , meaning what's -- when do you

21 need to know by , and Ms. Martin just says call her

22 early in the morning if that's going to change.

23 Q.         Could we write     Page No. 268 next to the word

24 "tickets " on the board?

25 A.         (Witness indicating.    )




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 1 Q.         On Page 270 , is that request relayed to         Ms.

 2 Levi?

 3 A.         Yes.    She calls   Ms. Levi and orders 50 of those

 4 passes for the show       , referring to the 50 grams of the

 5 heroin , and she also alerts her as         Mr. Nunn has alerted

 6 Ms. Martin that that may change in the morning and if

 7 it does,    Ms. Martin will let      Ms. Levi know , and Ms.

 8 Levi says , that's fine , just let me know before             10:00 .

 9 Q.         The phrase used in that call?

10 A.         50 passes for the show.

11 Q.         Okay.   You want to make a notation of that code

12 on the board, if it's not there already?             I think

13 there's a reference to         "show "?

14 A.         Page number?

15 Q.         The page number for that one is        Page 270?

16 A.         (W itness indicat ing.)

17 Q.         Now, based upon your training and experience           ,

18 what's the significance of the two calls           , B2512 and

19 B2524?

20 A.         During call 2512 , Ms. Levi is telling         Ms. Martin

21 that she's leaving from her area now           , meaning up in     Elk

22 Ridge , to come down and she       's riding    with her buddy ,

23 who is   William     Turner , because she doesn't have

24 transportation , and they confirm the time that she will

25 be there , before 1 :30 p.m.




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 1 Q.       And B2524?

 2 A.       Ms. Levi tells     Ms. Martin that she's parking

 3 now , meaning she's in front of the address on            Hayward .

 4 Q.       When we get to the call with         Mr. Nunn that

 5 happens after    Ms. Levi arrived, is there any codes used

 6 in that call in reference to the drugs?

 7 A.       Yes.   Ms. Martin has now changed it from 50

 8 tickets , which is what        Mr. Nunn had ordered , to say

 9 that I have that magazine you asked me to get            , meaning

10 that I have the 50 grams of heroin.            Mr. Nunn did not

11 -- had not asked for a magazine.        And then       Mr. Nunn

12 finishes the conversation by saying he'll be there in

13 about 15 minutes.

14 Q.       And the code word for drugs?

15 A.       Magazine.

16 Q.       Do you want to write the page number          , I think

17 magazine 's up there , Page 27 4?

18 A.       (Witness indicating.      )

19          MS. JOHNSTON:      Your Honor , if I could ask the

20 witness to step down briefly so we could call             Detective

21 Muldoon .

22          THE COURT:    You may.

23          MS. JOHNSTON:     Thank you.

24          (Witness    excused    from the stand at 11    :14 a.m. )

25 Thereupon,




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 1                            CO LLEEN MULDOON ,

 2 having been called as a witness on behalf of               the

 3 Plaintiff , and having been first duly sworn by the

 4 Courtroom Deputy, was examined and testified as

 5 follows:

 6            THE CLERK:     We need you the state your name for

 7 the record.

 8            THE WITNESS:     Corporal    Colleen    Muldoon ,

 9 M U L D O O N.

10                           DIRECT   EXAMINATION

11            BY MS. JOHNSTON:

12 Q.         Where are you employed,       Corporal    Muldoon ?

13 A.         I'm with the     Prince   George's    County police

14 department.

15 Q.         How long have you been employed there?

16 A.         I've been employed there for almost 18 years.

17 Q.         Could you tell us briefly what your experience

18 has been as a     Prince George 's County police officer?

19 A.         I worked on patrol area in the          Hyattsville    area

20 for about two years       , and then   I was in narcotics for

21 the last 15 years.

22 Q.         Could you describe what kinds of cases you

23 worked in in the narcotics section?

24 A.         I've worked on the conspiracy squad           , where we

25 identify and target known drug criminals             .   I've also




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1 worked in our       diversion   unit .     T here we have identified

2 and tried to target people who may be diverting illegal

3 -- legal drugs illegally        , like prescription drugs      , and

4 now I'm on the conspiracy squad again where              I'm working

5 on long -term investigations on known drug dealers.

6 Q.         Have you had occasion to participate in

7 surveillances of individuals?

8 A.         Yes, ma'am.

9 Q.         Calling your attention to         April 2nd   of 2004 ,

10 were you working that day?

11 A.        I was.

12 Q.        What was your assignment on that date?

13 A.        That day , Detective     Eveler requested that myself

14 and my partner , Pam Krueger,           to go an address in

15 Hyattsville .      We went to -- the address was 1513         Ray

16 Road in   Hyattsville , and we were there to look for a

17 vehicle , a gold     Chevy pickup truck.

18 Q.        Approximately what time did you arrive at that

19 location?

20 A.        About ten after      1:00 .

21 Q.        What observations did you make when you got

22 there?

23 A.        We did observe a gold pickup truck parked right

24 in front of 1513      Ray Road in       Hyattsville .

25 Q.        What was the tag number on that gold pickup




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 1 truck?

 2 A.        Let me check my note      s.    The tag number on that

 3 vehicle was 578 , N as in        Nora, 46 4.

 4 Q.        Who was that vehicle registered to?

 5 A.        That vehicle is register        ed to Derrick     Louis

 6 Bynum .

 7 Q.        At what address?

 8 A.        At that same address, ma'am          , at 1513   Ray Road ,

 9 Apartment 102 , in Hyattsville .

10 Q.        I want to show you what        's been marked as

11 Government's    Exhibit P -6 .

12 A.        Yes, ma'am.    That's the apartment build          ing

13 there.

14 Q.        And does that accurately depict the way the

15 building appeared on the date you were there?

16 A.        Yes, ma'am.

17 Q.        Were you able to see anything           in that photograph

18 that looks    familiar    to you?

19 A.        There looks to be a vehicle over to my

20 right-hand side that could be a           --

21           MR. WARD:     Objection to what it could be         , Your

22 Honor.

23           THE WITNESS:    It looks to me like it's a           --

24           MR. MITCHELL:    Objection.

25           MR. MARTIN:    Objection.




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1           THE COURT:       State what you     observe,      not what you

2 think it was.

3           BY MS. JOHNSTON:

4 Q.        In viewing P -6, is there anything familiar that

5 you recognize in the vehicle -- in the picture other

6 than the location?

7 A.        The back end of a gold pickup truck.

8 Q.        Is there anything different about the back end

9 of the gold pickup truck that we see in              P-6 and the one

10 you observed on that date        , on the date of your

11 surveil lance,    April 2nd of 2004?

12 A.       There is no difference.

13 Q.       And P -7, what is that ?

14 A.       That's the front entrance of 1513           Ray Road.

15 Q.       Now, after you concluded your observation of

16 that vehicle, were you given a second assignment?

17 A.       Yes, ma'am.      Detective     Eveler requested that we

18 go down to    Hayward     Avenue in   Takoma    Park and    -- to get

19 a tag off of a gold       , four -door vehicle.

20 Q.       Approximately what time did you go to the

21 vicinity of     Hayward    Street?

22 A.       We were there about 1        :30.

23 Q.       And did you -- what kind of surveillance did you

24 set up there?

25 A.       Myself and     Detective     Krueger   were in a min iv an .




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 1 We were just told to drive by and get the tag and not

 2 to stay there , to leave right away.

 3 Q.       If we could -- have you had occasion to review

 4 the pole camera     video that was shot of that day?

 5 A.       Yes, ma'am.

 6 Q.       Do you recognize anything on the vehicle?               On

 7 the video,    I'm sorry?

 8 A.       I recognize the car that        I saw us going by the

 9 house and turning around and coming back           , and that's

10 when we got the tag off the vehicle.

11 Q.       And the    vehicle is depicted as well in the

12 video?

13 A.       Yes.

14 Q.       If we could play that video       , please , that would

15 be Video 10 , for the record.

16                  (Video is being     play ed .)

17          THE WITNESS:      We didn't get there until 1       :30.

18          BY MS. JOHNSTON:

19 Q.       Do you recognize that vehicle        ?

20 A.       Yes, ma'am.

21 Q.       Okay.     Which one do you recognize?

22 A.       The front one, but it wasn't parked there when

23 we went by.      The front one is the gold vehicle.

24 Q.       Do you recognize that vehicle th         at 's pulled

25 behind the red     Mercedes ?




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 1 A.         Yes, ma'am , th at's the   vehicle that we got the

 2 tag off of.

 3 Q.         The same one that we saw arrive in to park          ?    A.

 4 Excuse me ?

 5 Q.         The same vehicle that we saw previously arrive

 6 in to park?

 7 A.         Yes, ma'am, it is.   That's us now coming down in

 8 the minivan .

 9 Q.         Were you able to get the tag number off the

10 vehicle?

11 A.         Once we -- the tag was blocked      , but then we got

12 it again when we tu     rn ed around and we came back up

13 Hayward    and we were able to get the tag.

14 Q.         Did you maintain any     stationary    surveillance in

15 the area?

16 A.         No, ma'am.   We were told to leave the area right

17 away .    T hat's us coming back up the hill getting the --

18 us , I mean myself an d Detective       Krueger .

19 Q.         What tag number did you get off of the gold

20 vehicle?

21 A.         That tag number was a      Maryland tag , H as in

22 Henry , W as in    William , F as in    Frank , 752.

23 Q.         Who is that vehicle registered to?

24 A.         That's co-owned by     Juanita   Turner and    William

25 Turner.




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 1          MS. JOHNSTON:         I have no further questions of

 2 this witness.

 3          THE COURT:     A ny cross-examination?

 4          MR. MONTEMARANO :          No.

 5          MR. MARTIN:      Mr. Goodwin has none.

 6          MR. HALL:     No,     Your Honor.

 7          MR. MITCHELL:        No,    Your Honor.

 8          MR. WARD:      No, Your Honor .        T hank you.

 9          THE COURT:     All right.        You may step down.

10 Thank you , Officer .

11                   (W itness    excused     at 11 :24 a.m. )

12                   (Witness     Sakala resumes the stand.        )

13                     FURTHER    DIRECT     EXAMINATION

14          BY MS. JOHNSTON:

15 Q.       Sergeant    Sakala , did you also , likewise , review

16 that video?

17 A.       Yes.

18 Q.       Are you familiar with the vehicle that was

19 identified by      Detective     Muldoon ?

20 A.       Yes.     We had seen it several time           s.

21 Q.       Who is William        Turner?

22 A.       That's    Dog Turner,       Gwen Levi's partner.

23 Q.       Now, calling your -- continuing with                April 2nd,

24 were there additional calls that were intercepted on

25 April 2nd ?




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 1 A.       Yes.

 2 Q.       Calling your attention to call B2576 on              Page

 3 27 5.   Is that , likewise , related to        Call B2590    --

 4 A.       Yes , it is.

 5 Q.       -- o n Page 278?

 6 A.       Yes , it is.    On what date and time did those two

 7 calls take place?

 8 A.       April 2nd,     2004 .    T he first one is at 21     :47 and

 9 the second one is a few minutes later -- excuse me                ,

10 yeah , at 9 :47 , the second one is about an hour later at

11 10 :44 p.m.

12 Q.       Are the parties the same?

13 A.       Yeah -- no.

14 Q.       Who are the parties?

15 A.       Hold on.     Yes.   It's    Luis Mangual , Paulette

16 Martin , and -- both calls.

17 Q.       If we could play those two calls            , please , B2576

18 on Page 27 5.

19          (Audio   recording begins        playing    at 11 :26 a.m. )

20          (Audio recording        stops   playing    at 11 :27 a.m.)

21          MS. JOHNSTON:       Then B2590 on     Page 278 , if we

22 could play that , please .

23          (Audio r ecording starts         playing    at 11 :27 a.m. )

24          (Audio recording        stops playing      at 11 :27 a.m. )

25          BY MS. JOHNSTON:




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1 Q.         Based upon your training           and experience , what

2 are Mr. Mangual        and Ms. Martin discussing in those two

3 calls?

4 A.         Ms. Martin     is ordering a kilogram of cocaine

5 from Mr. Mangual        for her brother , Learley         Goodwin , who

6 is at the residence on            Hayward   Avenue.

7 Q.         Page 27 5, what is the reference to            Mr. Goodwin ?

8 A.         Fifth line down, okay          , my brother was here      , he

9 wanted a ticket.

10 Q.        And "ticket " again refers to?

11 A.        A kilogram of cocaine.

12 Q.        Could you write the page number on             the board

13 next to the word       "ticket "?

14 A.        (Witness indicating.       )

15 Q.        Is that     what the discussion in both of those

16 calls has to do with?

17 A.        Yes.

18 Q.        In between those two calls          , there was another

19 call on    Page 27 6

20 A.        Yes.

21 Q.        Based upon your training and experience and

22 review of the call, does it reflect where                Mr. Goodwin

23 was on    April 2nd    during these calls with -- between             Ms.

24 Martin and       Mr. Mangual ?

25 A.        He was at the residence on           Hayward   Avenue ,




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 1 Paulette     Martin's house.

 2 Q.         Now, this call has already been        played    for the

 3 jury , but have you reviewed this call          --

 4 A.         Yes.

 5 Q.         -- r efer ring to   B2581 on   Page 27 6?

 6 A.         Yes.

 7 Q.         Now , based upon -- you were not privy to          Mr.

 8 Thurman's testimony here in court; is that correct?

 9 A.         That's correct.

10 Q.         Listening to this call and reviewing the

11 transcript, did you        form an opinion as to what        Mr.

12 Goodwin    and Mr. Thurman were discussing?

13 A.         Yes.

14 Q.         What is your opinion?

15 A.         This has to do with the bad cocaine           Mr. Goodwin

16 got , or low quality cocaine.          Mr. Thurman is down

17 try ing to swap it out or get his money back            , and the

18 mid dle of the page or a little bit below the page where

19 Mr. Goodwin        asks , so they're exchanging the clothes        .

20 He's asking if they're going to change the low quality

21 kilograms for better quality.

22 Q.         Does he indicate in that call where they had to

23 go change the clothes?

24 A.         Yeah.    Near the bottom of the page        , Mr. Thurman

25 says they had to go wash his clothe          s in Mexico, meaning




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 1 that they had to swap kilograms in             Mexico .

 2 Q.       What is the code word being used in this call to

 3 refer to cocaine?

 4 A.       They refer to the cocaine as           "clothes ".

 5 Q.       Okay.    Could you add that to our chart and the

 6 page numbers?     Page 27      6.

 7 A.       270?

 8 Q.       27 6.

 9 A.       (W itness indicating.       )

10          MS. JOHNSTON:          Your Honor, we have some

11 witnesses here from         Wyoming , so to make sure they get

12 on and get      off the   stand , if could recess         Detective

13 Sakala 's testimony       --

14          THE COURT:       V ery well.

15          MS. JOHNSTON:          -- a nd get them on now     , we would

16 appreciate it.

17          THE COURT:       That's fine.

18          MS. JOHNSTON:         Thank you   , Your Honor.

19          THE COURT:       Want to do it right now?        All right.

20          (Witness excused at 11          :31 a.m. )

21 Thereupon,

22                            DAVID CHATFIELD ,

23 having been called as a witness on behalf of the

24 Plaintiff , and having been first duly sworn by the

25 Courtroom Deputy, was examined and testified as




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 1 follows:

 2                           DIRECT   EXAMINATION

 3            BY MS. GREENBERG:

 4 Q.         Could you state     and spell your last name for the

 5 jury , please?

 6 A.         David Chatfield , C H A T F I E L D.

 7 Q.         Where are you employed       , sir?

 8 A.         I'm a state trooper with the          Wyoming   Highway

 9 Patrol.

10 Q.         Did you travel to       Maryland last evening?

11 A.         I did.

12 Q.         How did you travel here?

13 A.         By airplane.

14 Q.         What airline?

15 A.         Frontier.

16 Q.         Did anything unusual happen -- did anything

17 happen during your travels          ?

18            MR. MARTIN:     Objection.

19            MR. MONTEMARANO :       Proffer at the bench     , Your

20 Honor?

21            THE COURT:     A pproach the bench.

22                     (At the bar of the Court.)

23            THE COURT:     W ell?

24            MR. MARTIN:     I can't understand where she's

25 going with this.




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 1          MS. GREENBERG:      Your Honor , they lost his

 2 lug gage.   He 's dress ed in jeans and a shirt .         I wanted

 3 him to explain why he wasn't dressed          .

 4          MS. MONTEMARANO :      W ith all due respect     , he's not

 5 an attorney .    He's not obligated -- he could come off

 6 of surveillance and they look like this           .

 7          MR. MARTIN:     Nobody cares    .

 8          MS. GREENBERG:      Your Honor , so he can explain

 9 why he's dressed the way h       e's dressed .

10          THE COURT:     O verruled .

11          You can ask him why he's        not dress ed in uniform,

12 pe riod, and he can explain.

13                       (Back in open court.)

14          BY MS. GREENBERG:

15 Q.       Trooper , is there something about your dress you

16 would like to explain to the jury?

17 A.       Yes.   My luggage was lost by the airline last

18 night which contained my suit.

19 Q.       When do you     expect to get your luggage back?

20 A.       6:30 this afternoon.

21 Q.       Where do you     expect to be t onight ?

22 A.       In Cheyenne .

23 Q.       Could you give the jury a little bit about your

24 background, train     ing , and experience?

25 A.       I've been a state trooper with the           Wyoming




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 1 High way Patrol for 12 years.       Before that      , I went to

 2 college at the      University of    Nebraska in     Lincoln ,

 3 graduated from high school in         Nebraska.

 4 Q.       What are your duties and responsibilities as a

 5 High way patrol trooper for the        state of    Wyoming?

 6 A.       Basically to patrol the highways.

 7 Q.       Were you so employed on March 11, 2004?

 8 A.       Yes.

 9 Q.       Could you tell the jury      , did you pull over a

10 vehicle that date?

11 A.       I did .

12 Q.       For what?

13 A.       For speeding.

14 Q.       To direct your attention       , was it a    Honda Accord?

15 A.       Yes , it was a tan     Honda Accord.

16 Q.       What kind of plates?

17 A.       It had    California license plates.

18 Q.       Do you recall the number?

19 A.       I don't.

20 Q.       Would anything refresh your recollection as to

21 the number?

22 A.       My report.

23          MS. GREENBERG:      Your Honor , if I may approach

24 the witness.

25          THE COURT:    You may.




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1            MS. GREENBERG:      The next miscellaneous number,

2 please .

3            BY MS. GREENBERG:

4 Q.         Handing you what's been marked as         Miscellaneous

5 No. 7 for identification purposes.

6            MR. MONTEMARANO :      M ay I see it , please?

7            BY MS. GREENBERG:

8 Q.         Was there a report made about this incident?

9 A.         Yes.

10 Q.        And who actually made that report?

11 A.        I made my own report and       I believe there's

12 another report by      Special    Agent Seals.

13 Q.        Would looking at that refresh your recollection?

14 A.        Yes.

15 Q.        Hand you what's been marked as         Miscellaneous    7.

16 Looking at that , does that refresh your recollection

17 about what the vehicle was that you pulled over             , what

18 the tag number was?

19 A.        Yes.

20 Q.        What is the tag number?

21 A.        Five , F as in   Frank , C as in    Charl ey, V as in

22 Victor , 728.

23 Q.        What did you pull that vehicle over for?

24 A.        Speeding.

25 Q.        Who was   driving    the vehicle?




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1 A.        Per ry Davis .

2 Q.        Who was the      passenger ?

3 A.        Pernell    Philpot .

4 Q.        Did you obtain consent to search the vehicle?

5 A.        Yes.

6 Q.        By whom?

7 A.        By both subjects.

8 Q.        Just to give the jury some kind of idea about

9 where we are, we're in         Wyoming; is that correct?

10 A.       Yes.

11 Q.       What highway?

12 A.       On Interstate 80.

13 Q.       What kind of highway is            Interstate 80?

14 A.       It's a    trans -country highway that runs from         San

15 Francisco to      New York.     Interstate highway     , two lanes

16 each way.

17 Q.       Major highway, minor highway?

18 A.       Major interstate highway.

19 Q.       Where does it run from         ?

20 A.       It runs from      San Francisco to       New York.

21 Q.       Is that the main route between those two

22 locations?

23 A.       Yes.

24 Q.       Did you discover anything unusual during your

25 consent search of this vehicle?




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1 A.        I did.

2 Q.        What did you discover?

3 A.        I discovered some fa     lse compartments in the car,

4 some manufactured compartments.

5 Q.        Can you describe to the jury where you located

6 these manufactured compartments?

7 A.        There was one in the place where the air bag

8 could be , and then there were two in the backseat area

9 on each side wall.

10 Q.       On the side wall of the car?

11 A.       On the side wall of the rear passenger seat on

12 the side wall of the car, yes.

13 Q.       Did you cause a video to be made of your stop                 on

14 this date --

15 A.       Yes.

16 Q.       -- o f this    Honda Accord?

17 A.       Yes.

18 Q.       Did you review that complete videotape prior to

19 your testimony today      ?

20 A.       Yes.

21 Q.       Cold you explain to the jury how the videotape

22 system on your vehicle works?

23 A.       It's a dash mounted camcorder, basically, that

24 is wired through       the car so that when     I turn on my

25 emergency light s, the camera kicks on to start           , and




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 1 then it remains on until        I turn it off , and I also have

 2 a body recorder on me that          I turn on that records what

 3 I'm saying.

 4 Q.        So the recording is fairly lengthy?

 5 A.        Yes.

 6 Q.        And did you    re view this whole tape    , Video 2,

 7 prior to your testimony?

 8 A.        Yes.

 9 Q.        Does it fairly and accurately record the events

10 of that day?

11 A.        It does.

12 Q.        Is there a portion that       reflects   your discovery

13 of something in a compartment?

14 A.        Yes.

15 Q.        If you could describe to the jury what happened

16 at that particular moment.

17 A.        Oh.    In one of the compartments on the driver's

18 side , we found several cellophane packages          .    W e removed

19 one, tested that package for drugs         , and it was

20 presumptively positive for cocaine.

21 Q.        When you say    "we," who    are you talking about?

22 A.        Another trooper was on scene with me           , his name

23 was Jim Hess .

24           MS. GREENBERG:     Your Honor , if I could play that

25 portion   of the     Video 2 now.




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1            THE COURT:    You may.

2            (Video begins playing at 11       :38 a.m. )

3            BY MS. GREENBERG:

4 Q.         What are we seeing here?

5 A.         That's the car , and both       Trooper    Hess and I

6 searching , and that's the package that              I've just

7 located in the rear wall of the car that               I set on the

8 trunk there.

9 Q.         Okay .   J ust to clear it up    , where are you coming

10 out of?

11 A.        I'm coming out of the      driver's   side door with a

12 -- kind of a white package in my hand.

13 Q.        Is that date on the time stamp on the videotape

14 correct , march 11, 2004 , about       3 o'clock p.m.

15 A.        Yes.

16 Q.        And that package is wh     at you got from the hidden

17 compartment?

18 A.        Yes.

19 Q.        What did you do after you located that hidden

20 compartment and that one package?

21 A.        Called for agents from the        Division of    Criminal

22 Investigation      to come out and follow up on the case.

23 Q.        What happened next?

24 A.        After they arrived    , we tow ed the vehicle back to

25 a state shop where we searched it further.




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 1 Q.         Did you subsequently continue to search that

 2 vehicle?

 3 A.         Yes.

 4 Q.         And what , if anything , happened as a result of

 5 the continued search?

 6 A.         We removed four other packages from that

 7 com part ment.

 8 Q.         And the shape and size of each package?

 9 A.         Was approximately a kilo of cocaine.

10 Q.         And showing you what's been marked as          P-17 7.

11 Could you identify what that is for the jury?

12 A.         That's a picture of the same vehicle from the

13 front , inside our state shop.

14 Q.         And P-178 , could you describe what we're s         ee ing

15 here?

16 A.         The metal piece is the door latch on the

17 doorjamb on the passenger side of the vehicle.         The

18 lower part shows -- it's in here sideways           , it shows the

19 vertical.

20 Q.         I'm going to try this    .

21 A.         Yes.

22 Q.         Is that easier?

23 A.         That's more correct, yes.    The part on the right

24 now shows the side molding of the car          , which --

25 Q.         That right there?




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 1 A.         Yes .   A nd that is aftermarket glue that is where

 2 the compartment is.

 3 Q.         Just for the record    , that's approximately the

 4 middle -- right below the middle part of the picture?

 5 A.         Right where your finger is.

 6 Q.         Yes .   F or the record , my finger is the middle

 7 part of the picture.

 8            Was that the     first indication , the glue that you

 9 had , that there might be a hidden compartment?

10 A.         No .    I found the compartment    -- of that

11 compartment , but I found the air bag compartment prior

12 to that.

13 Q.         What caused     you to find the air bag compartment?

14 A.         When I was searching the vehicle       , I noticed that

15 all of the screws        that held the   glove compart ment in

16 had a lot of tooling on them         , or marks , that showed it

17 had been off and on quite often.

18 Q.         What happened     when you looked inside the glove

19 box?

20 A.         When I was able to pull the glove com        part ment

21 out , I was able to see some manufacturing that was not

22 part of the vehicle       , and so   I was able to determine

23 that that was aftermarket         and was probably some kind of

24 false compar tment built in.

25 Q.         And subsequent to that that you noticed the




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 1 glue ?

 2 A.       Yes.

 3 Q.       Which side of the car was the glue noticed on?

 4 A.       It was actually on both sides        .    T hat picture

 5 there is on the passenger side          , but it was on both

 6 sides.

 7 Q.       P-179 , what does that reflect?

 8 A.       That is the compartment broken open and there's

 9 an electronic h ydraulic      arm down toward the bottom of

10 the picture.

11 Q.       Is that this black bar with the silver on it?

12 A.       Yes.

13 Q.       And what does that h ydraulic        arm do?

14 A.       When some kind of button was pushed inside the

15 car , it was designed to swing that arm open and             open

16 that access     to that area inside       there.

17 Q.       Did you locate the button?

18 A.       No.    We located the wire that did that         , but not

19 the button.

20 Q.       How did that    hydraulic      arm compare to what you

21 located inside the glove compartment          ?

22 A.       It was about the      same .    Hydraulic   arms on both

23 sides and in the glove compartment           -- or in the air bag

24 compartment.

25 Q.       What we're looking at here         is the driver's side?




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1 A.        Yes.

2 Q.        And was there anything located in the

3 compartments in the -- start with the glove compartment

4 -- in the glove compar       tment?

5 A.        In the glove compart     ment ?   No.

6 Q.        And in the passenger side?

7 A.        No.

8 Q.        Concealed there.

9 A.        No.

10 Q.       And so all fi ve packages were locate         d in the

11 concealment area on the driver's side?

12 A.       That's correct.

13 Q.       And reflected in      P-180 ?

14 A.       That's the same compartment on the drive           r's side

15 just a different view.

16 Q.       And does this show what you observed when you

17 got that open?

18 A.       Yes.

19 Q.       And does this package -- how does that compare

20 to what we saw on the videotape?

21 A.       That's probably the same package.

22 Q.       And P-18 1?

23 A.       Another --    same picture , just a different angle.

24 Q.       And P-18 2?

25 A.       That's the vehicle on the side of the road with




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 1 the -- one of the packages on the trunk lid.

 2 Q.        And what is reflected in       P-18 3?

 3 A.        That is the trunk lid of the         Honda in the state

 4 shop with all five packages on the hood and the test

 5 kits that we used on top of the packages.

 6 Q.        Now , did you also locate documents as a result

 7 of your investigation from this car?

 8 A.        Yes.

 9 Q.        Did you provide those to anyone in connection

10 with th is investigation ?

11 A.        Yes .    T hey were all turned over to      Special    Agent

12 Seal s.

13 Q.        Can you explain to the jury how that works            , why

14 you turned       over this -- these documents and other items

15 to Special       Agent seals?

16 A.        Basically because       I'm a --   I work the road ,

17 patrol the highways      , that's the main part of my job         .

18 And whenever we run into a felony criminal matter               , such

19 as transportation of drugs        , we turn that over to an

20 investigator , and he's the investigator that works for                 ,

21 in the state of       Wyoming , the Division of     Criminal

22 Investigations.

23           MS. GREENBERG:        Your Honor , if I may approach

24 this witness .

25           THE COURT:     Y ou may.




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1           BY MS. GREENBERG:

2 Q.        Showing you what's been marked as           Wyoming     1.

3 Are these the document        s that were located from that

4 vehicle in connection with yours and            Mr. Seals ' search?

5 A.        Yes.

6 Q.        Could you read      who the person    is on this

7 particular exhibit from         Honda of   Oakland?

8 A.        Pernell   Philpot .

9 Q.        And the next , the Virginia       Uniform    Summons?

10 A.       Pernell   Philpot .

11 Q.       And the   Northland's    Route , Inc ., N O R T H L A N

12 D, account in whose      name?

13 A.       Pernell   Philpot .

14 Q.       And the   Texas Department of       Public Safety

15 citation in whose name?

16 A.       Pernell   Philpot .

17 Q.       And a Honda of      Oakland document in whose name?

18 A.       Pernell   Philpot .

19 Q.       Now, as a    result of your activities that day              ,

20 did you cause anyone to be arrested?

21 A.       Yes.

22 Q.       And who was -- who did you cause to be arrested                  ?

23 A.       Pernell   Philpot    and Perry Davis .

24 Q.       Is Pernell    Philpot   on these doc uments,      for

25 example , the Virginia       Uniform   Summons , could you




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 1 compare the name and date of birth to the person              you

 2 arrested as      Pernell    Philpot ?   Is that the same person?

 3 A.        Yes , it is.

 4 Q.        Could you provide for the record what the date

 5 of birth is      for that individual?

 6 A.        January 15, 1962.

 7 Q.        And a description?

 8 A.        5'4", 26 5 pounds, black male       .

 9 Q.        An d did you cause anyone else to be          ar rested?

10 A.        Yes.

11 Q.        Who else ?

12 A.        Perry Davis.

13 Q.        Could you give us his date of           birth and

14 description?

15 A.        His date of birth is October 6, 1982, 5'10", 150

16 pounds, black male.

17 Q.        What did     you do with the drugs that you

18 discovered from the hidden compart          ment in   this Honda

19 Accord?

20 A.        I turned those over to        Special    Agent Seals.

21           MS. GREENBERG:        Your Honor , if I may , again ,

22 approach .

23           THE COURT:       Y ou may.

24           BY MS. GREENBERG:

25 Q.        Showing you wh at 's been marked as Wyoming          2.




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 1 Did you have an opportunity to review this last evening

 2 when you arrived?

 3 A.        Yes.

 4 Q.        I'm not going to pull everything out of the bag                  ,

 5 but you   re viewed everything in this bag?

 6 A.        Yes.

 7 Q.        Tak ing a representative sample out of this bag              ,

 8 could you tell this jury what's in this bag?

 9 A.        That was part of the packaging of the cocaine.

10 Q.        Could you explain to the jury how the cocaine

11 was packaged?

12 A.        It was wrapped in cellophane with layers of

13 mas king agents.

14 Q.        What is this silver substance here?

15 A.        That's duct tape.

16 Q.        What , if any , connection did that have to the

17 kilograms that you seized from the          Honda Accord that

18 date?

19 A.        It was wrapped in duct tape also.

20 Q.        What is this white object here?

21 A.        Dr yer sheets.

22 Q.        How does that relate at all      , the dr yer sheet s,

23 to the objects that you seized that day?

24 A.        That would be one     of the   mas king agent s in the

25 wrappings.




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 1 Q.         And show ing you this , then , do you recognize

 2 that as connected with the seizure from that date?

 3 A.         I don't recall that.

 4            MS. GREENBERG:      Your Honor , if I may publish the

 5 two exhibits that he talked about         , the duct tape     an d

 6 the fabric softener , to the jury.

 7            THE COURT:   You may.

 8            BY MS. GREENBERG:

 9 Q.         I'm showing you what's been marked as          Drugs 43 A,

10 43 B, 43 C, 43 D, and 43 E.

11            Do you recognize those exhibits?

12 A.         That's the bricks of cocaine taken out of the

13 wrapping    and everything.

14 Q.         Do they differ in their appearance today from

15 the date that you seized them?

16 A.         Yes.   They're not all wrapped up and some of

17 them have been broken out of their brick form.

18            MS. GREENBERG:      Court's indulgence.

19            No further questions     , Your Honor }.

20            THE COURT:   Cross-examination     ?

21            MR. MONTEMARANO :    Thank you , Your Honor.

22                          CROSS-EXAMINATION

23            BY MR. MONTEMARANO :

24 Q.         Afternoon,   Trooper .

25 A.         Yes.




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1 Q.        Afternoon,    Trooper   Chatfield .    H ow are you?

2 A.        Good.

3 Q.        Frontier    managed to lose your      lug gage; right?

4 A.        That's correct.

5 Q.        But you brought your memory, right?

6 A.        I did.

7 Q.        You don't know who this person is         , do you?

8 A.        I do not.

9 Q.        And showing you     P, for Papa , 18 2, which is the

10 photograph of the vehicle after it's been stopped              ,

11 that's the      Honda you all stopped?

12 A.       Yes.

13 Q.       On the left side      of the photograph here      , we see

14 two lanes and a median -- excuse me          , and a shoulder ,

15 the vehicle sitting on the shoulder; is that correct?

16 A.       That is correct.

17 Q.       These two lanes would be vehicles headed

18 eastbound?

19 A.       Yes .

20 Q.       These are the two eastbound       , so we're out

21 somewhere at the end of the picture now, east?

22 A.       Yes.

23 Q.       And then there's a grassy median?

24 A.       Yes.

25 Q.       And then    I'm going   to assume    two westbound lanes




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 1 and a shoulder as well      ?

 2 A.       Yes .

 3 Q.       Th e Honda was going east and you're going west?

 4 A.       Yes.

 5 Q.       So you were actually off to the left side of

 6 this photograph on the westbound lanes; correct?

 7 A.       At what time?

 8 Q.       When you first saw the vehicle        .

 9 A.       Yes.

10 Q.       And you went -- you saw it coming towards you,

11 you looked at it; correct?

12 A.       Yes.

13 Q.       And then you saw it      pass you ; correct?

14 A.       Yes.

15 Q.       And as it came towards you       , you had activated

16 your front radar and that's on your cruiser?

17 A.       Yes.

18 Q.       Or your patrol vehicle?

19 A.       Yes.

20 Q.       What kind of vehicle?

21 A.       It's a    Ford Crown Victoria.

22 Q.       You sail by in your      Crown Vic.       Y ou get nothing

23 on your front radar     .   T he vehicle you see pass you from

24 10 to 15 yards away     , and then you activate your rear

25 radar ; correct?




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 1 A.       Yes.

 2 Q.       Your rear radar tells you they're doing 78 miles

 3 an hour correct?

 4 A.       Yes.

 5 Q.       What's the posted speed limit?

 6 A.       75.

 7 Q.       It was clear, dry and sunny on that day           ; right ?

 8 A.       Yes , it was.

 9 Q.       Just like that , and for 78 in a 75 zone          , you

10 stopped them; correct?

11 A.       Yes.

12          MR. MONTEMARANO :      No further questions      , Your

13 Honor.

14          THE COURT:      A ny further   cross?

15          MR. SUSSMAN :      Just briefly.

16                          CROSS-EXAMINATION

17          BY MR. SUSSMAN :

18 Q.       After you stopped them,        Trooper, you checked

19 their license and registration?

20 A.       I did.

21 Q.       All valid?

22 A.       Yes.

23 Q.       And then you we began to interview them           ; is that

24 correct ?

25 A.       Yes.




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 1 Q.       Based on your interview        , you asked for consent

 2 to search the vehicle?

 3 A.       Yes.

 4 Q.       And they both consented        .    T hat was your

 5 testimony?

 6 A.       Yes.

 7 Q.       Do you have a written consent from them?

 8 A.       No.

 9 Q.       Did you have consent forms in your vehicle at

10 that time?

11 A.       I believe     I do.

12          MR. SUSSMAN :     Thank you.       Nothing further.

13          MR. MITCHELL:     Just a few       , Your Honor.

14          MR. MARTIN:     If    I may,   Counsel.

15          MR. MITCHELL:     It will work.

16          MR. MARTIN:     Thank you.

17                          CROSS-EXAMINATION

18          BY MR. MARTIN:

19 Q.       Trooper   Chestfield ?

20 A.       Yes.

21          MR. MONTEMARANO :       Chatfield .

22          BY MR. MARTIN:

23 Q.       Chatfield .

24          With respect to the vehicle          , did you have a

25 printout of the radar?




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 1 A.       There is no such thing.

 2 Q.       There is no such thing?

 3 A.       No.

 4 Q.       That's just for     Breathalyzer , I think.

 5 A.       Correct.

 6 Q.       And the documents that you were shown in

 7 Miscellaneous 101 , those were all         the documents you

 8 found in the vehicle that day; right?

 9 A.       No.    There was probably more      .   W e turned

10 everything over to the       Division of    Criminal

11 Investigation.

12 Q.       Everything that you were shown in there was

13 everything that you actually seized out of there?

14 A.       Everything they seized out of the vehicle

15 included everything that was in the vehicle.

16 Q.       Right.     So either you or your partner          , I'm

17 talking about     Miscellaneous 101 , if I could show it to

18 him because     I don't   want him to be confused      .    R emember

19 when government trial counsel showed you a bunch                of

20 papers --

21 A.       Yes.

22 Q.       -- t hat had someone's name on it?

23 A.       Yes.

24 Q.       Did you actually pull these papers out of the

25 car ?




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 1 A.        We pulled everything out of the car, looked

 2 through everything      , then put everything back the wa        y it

 3 was and turned it over to the         Division of    Criminal

 4 Investigation.

 5 Q.        Thank you , sir .

 6           MR. MARTIN:    I have   nothing further.

 7           MR. MITCHELL:    C oup le of questions , Your Honor.

 8           MR. HALL:    Actually , I had a question.         I know

 9 you're anxious.

10                          CROSS-EXAMINATION

11           BY MR. HALL:

12 Q.        Trooper , you don't know this individual to my

13 left, do you?

14 A.        I do not.

15 Q.        Thank you.

16                          CROSS-EXAMINATION

17           BY MR. MITCHELL:

18 Q.        Trooper   Chat field , you work for the      Wyoming

19 Highway   Patrol; correct?

20 A.        I do.

21 Q.        As part of your duties, they're to keep the

22 highways safe ; is that correct ?

23 A.        Yes.

24 Q.        And part of that is to monitor traffic and

25 monitor speeds ; correct?




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 1 A.       Yes.

 2 Q.       The speed limit , if I understand , is 75 miles an

 3 hour?

 4 A.       That's    correct.

 5 Q.       On Highway 80 through        Wyoming , at least where

 6 you were?

 7 A.       Yes.

 8 Q.       This was at     Mile Post 39 2; correct?

 9 A.       Yes.     Somewhere in there.   39    4, maybe.    39 4 -- I

10 belie ve the stop was at 39      4.

11 Q.       39 4.    And you see a vehicle coming into your

12 radar , and in one of your reports indicate that you

13 estimated the speed of about 80 miles per hour            ; is that

14 correct ?

15 A.       That's correct.

16 Q.       That's about fi ve miles over the speed limit?

17 A.       Yes.

18 Q.       When you got a reading based on your radar            , it

19 was 78 miles an hour; correct?

20 A.       Correct.

21 Q.       That's three miles an hour over the speed limit               ?

22 A.       Correct.

23 Q.       Now, you 've been a trooper how long?

24 A.       Twelve years.

25 Q.       And is it your experience that someone traveling




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1 three miles an hour over the speed limit would be an

2 unsafe driver on the highways?

3 A.         Not in particular, no.

4 Q.         And did you determine this speed of this vehicle

5 to be unsafe on the road causing others to be unsafe?

6 A.         I determined it in violation of the law.

7 Q.         Three miles an hour over the speed limit          ?

8 A.         That's correct.

9 Q.         And that was enough -- that was a concern of

10 yours enough to stop this vehicle?

11 A.        Yes.

12 Q.        Because of the unsafe driving?

13 A.        Because of the violation of law.

14 Q.        And the violation was three miles an hour over

15 the speed limit ?

16 A.        Correct.

17 Q.        It have anything to do -- did your stop have

18 anything to do with the fact that the vehicle was

19 traveling with       California plates as opposed to        Wyoming

20 plates?

21 A.        A little bit.

22 Q.        What was the reason why you stop        ped the car

23 because of       California plates as opposed to three miles

24 an hour over the speed limit?

25 A.        I stopped it for three miles an hour over the




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1 speed limit but the        California plates just drew my

2 attention.

3 Q.          Why is that?

4 A.          Because we get a lot of drug traffic from

5 California.

6 Q.          Is that what you were looking for on this day?

7 A.          Not in particular.     I was looking for a lot of

8 thi ng s, but I'm always looking for drugs and felons and

9 speeders and anything else that comes along.

10 Q.         Did it also have anything to do with the fact

11 that there were two       African- American males in the car?

12 A.         No.

13 Q.         That didn't factor into your reasons for

14 stopping the vehicle?

15 A.         I didn't identify that until after the stop.

16 Q.         You didn't give the driver a speeding ticket,

17 did you?

18 A.         No , I did not.

19 Q.         You gave them a warning.

20 A.         That's   correct .

21 Q.         But you didn't stop at that point and let them

22 go, did you?

23 A.         No , I did not.

24 Q.         You didn't -- you began to interrogate them,

25 correct, about where they were going and where they




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 1 were coming from?

 2 A.       No.    That happened -- that was a conversation

 3 that happened during the time         I was writing the --

 4 Q.       That's what     I mean , at the time after you gave

 5 the warning , you began to have this conversation with

 6 them; correct?

 7 A.       No , that was    dur ing the writing of the warning

 8 out and the checking on the license.

 9 Q.       I stand corrected.     So while you were writing

10 the ticket , you beg an to inter ro gate them as to where

11 they were coming , where they were going?

12 A.       No .   I had a conversation with them about where

13 they were coming from.

14 Q.       Why did it matter to you where they're coming or

15 where they were going?

16 A.       It's just conversation to keep people interested

17 and not feel like they're being overburdened by me or

18 anything else.      I just talk to people.         I talk to

19 everybody   I stop.

20 Q.       Does it matter where they were coming and where

21 they were going , considering what they were doing              ,

22 travel ing three miles an hour over the speed limit?

23 A.       Usually, no , but in this case it did         , yes.

24 Q.       Because?

25 A.       Because they had two different reasons for what




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 1 they were doing and where they           coming from and where

 2 they were going to         , so it became suspicious.

 3 Q.        Was there a reason to find out where they were

 4 going or where they were coming          , in your opinion?

 5 A.        Excuse me ?

 6 Q.        Is there a reason       to find out?

 7           MS. GREENBERG:       Objection.

 8           THE COURT:       Overruled.

 9           BY MR. MITCHELL:

10 Q.        Did you have       a reason to find out where they

11 were coming or where they were going base             d on the fact

12 you saw   California plates?

13 A.        It wasn't based on the fact th           at I saw

14 California plates      .     I standardly    ask people where

15 they're coming from and going to on every traffic stop.

16 Q.        And wouldn't it be safe to say you were looking

17 to find   out if they were , in fact , involved in this

18 drug trafficking as you indicated before?

19 A.        Not in particular, no.            I ask everybody that

20 question.    If suspicion arises        , then yes.

21 Q.        It had nothing do with the fact that they were

22 African-American males?

23 A.        No.

24           MR. MITCHELL:        No further questions     .

25           THE COURT:        An y further cross ?




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1          MR. WARD:     I have none,     Your Honor .     T hank you.

2          THE COURT:      All right.     A ny redirect?

3          MS. GREENBERG:     Briefly    , Your Honor.

4                        REDIRECT   EXAMINATION

5          BY MS. GREENBERG:

6 Q.       Prior to stopping the vehicle, could you tell

7 who was driving or who was a passenger in the vehicle               ?

8 A.       No.

9 Q.       Could you tell that they were male or female?

10 A.      No.

11 Q.      Could you tell whether they were black or white?

12 A.      No.

13 Q.      Is it your practice to stop vehicles that are

14 going over the speed limit?

15 A.      Yes.

16 Q.      And what caused you to talk to the driver and

17 passenger in connection       with obtaining     consent in this

18 case?

19 A.      It's a normal practice of ours         , and I had them

20 actually come back to my vehicle because            I saw lot of

21 initial nervous ness on their part.

22 Q.      Could you explain to the jury the factors that

23 led you to ask for consent?

24 A.      The driver told me that they were           traveling    --

25 that he was -- he was -- had flown to           Oakland from




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1 Maryland and      -- to visit the uncle of the passenger         .

2 Q.       Just to be clear , the driver is ?

3          MR. MARTIN:     Objection.

4          THE WITNESS:     Per ry Davis .

5 Q.       Continue .

6 A.       He h ad flown to     Oakland , and now was driving

7 with the passenger's uncle's car back to             Maryland , and

8 then -- and lived in       Maryland.

9          Then when    I spoke to the passenger       , the

10 passenger said that both he and the driver had              driven

11 this car from     Maryland to    California , and they were

12 both driving it back to        Maryland , and then they were

13 both -- either one of them was going to drive it back

14 or both of them was going to drive it back to

15 California .    S o one of them said they had flown to

16 California , the other one said they had          driven the    car

17 to California.

18 Q.      And in your training and experience          , what did

19 that lead   you to believe?

20 A.      In almost all the interdiction cases we run

21 across , we begin to get different stories from two

22 different people in the car about how they got

23 somewhere or went somewhere       , basically because th      ey're

24 lying about     what they did to hide the fact that they're

25 doing something     illegal.




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1 Q.          You mentioned nervous       ness on the part       of the

2 driver .      C ould you explain that to the jury?

3 A.          Yes .    T he driver showed his hands were shaking

4 when I pulled him over         , which is beyond the normal

5 nervousness         of a motoring public    , and then wh ile he

6 while he was back in my car and             I was speak ing to him ,

7 he had trouble         swallowing,    he was    constantly     pulling at

8 his pants , which are all above and beyond the normal

9 nervousness         we see from people.

10 Q.         And defense counsel asked you about whether or

11 not you filled out a consent form and got written

12 consent, and you said no.            Have you reviewed        the

13 videotape d interview as evidence             in this case?

14 A.         Yes.

15 Q.         And is there video       taped e vidence   of this

16 consent?

17 A.         Yes.

18 Q.         In other words , you had a microphone on?

19 A.         Yes.

20 Q.         And based    on your prior review       of the tape , were

21 both the driver 's and pass enger's            consent video

22 recorded?

23 A.         Yes , they were.

24 Q.         Did you see any need for gett         ing a written ,

25 formal consent ?




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 1 A.       No.

 2          MS. GREENBERG:       No fu rther questions , Your

 3 Honor.

 4          THE COURT:     Any further rec      ross?

 5                         RECROSS-EXAMINATION

 6          BY MR. MONTEMARANO :

 7 Q.       Just so     I'm clear.    Trooper    Chatfield , I read

 8 your report .      I t doesn't say anything in there the

 9 Honda you stop stopped was tailgating           ; correct?

10 A.       Correct .

11 Q.       No illegal lane      changes ; c orrect?

12 A.       That's c orrect.

13 Q.       Didn't cut off any other drive         rs; correct ?

14 A.       That 's correct .

15 Q.       Didn't swerve from lane to lane; correct?

16 A.       That's correct.

17 Q.       Didn't run off onto the shoulder or anything

18 like that ; is that correct?

19 A.       That's c orrect.

20 Q.       It was going 78 in a 75?

21 A.       That's correct .

22          MR. MARTIN:      Mr. Goodwin    as no questions.

23          MR. HALL:     Nothing further     , Your Honor.

24                         RECROSS-EXAMINATION

25          BY MR. MITCHELL:




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1 Q.       Trooper    Chatfield , when I asked you if the

2 purpose for stopping this car was perhaps something

3 other than speeding,       I asked you if , did it factor into

4 your reason for stopping the vehicle the fact that the

5 driver was      African-American male.       I recall your answer

6 was no; is that correct?

7 A.       That's correct.

8 Q.       In response to the government's question            s, you

9 said that it -- you didn't know the actual identity of

10 the driver ; is that correct?

11 A.      That's correct.

12 Q.      So in response to my question        , was that you did

13 not know who the identity of the driver was and that's

14 not why --     I'm confused.

15 A.      Sounds like it.

16 Q.      This was at two o'clock in the afternoon?

17 A.      Yes.

18 Q.      Broad daylight?

19 A.      Yes.

20 Q.      Nothing affecting your view of this vehicle?

21 A.      Correct.

22 Q.      And where were you parked         -- or I'm sorry , where

23 were you when you saw this vehicle initially?

24 A.      I was in the slow lane      , or driving lane , of the

25 westbound traffic traveling at about 65 miles an hour.




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1 Q.         Where was this vehicle in relation to yours?

2 A.         It was on the eastbound side.

3 Q.         So it was coming the other direction?

4 A.         Coming towards me, yes.

5 Q.         And did you have the opportunity to observe the

6 vehicle?

7 A.         I did.

8 Q.         There was nothing     obstructing     your view?

9 A.         No.

10 Q.        So did you see the actual driver of this vehicle

11 and his passenger as you were        pass ing by this car?

12 A.        No.   I saw the plates and the car.

13 Q.        So you're able to see plates        , dis tinctly

14 California , but you couldn't see inside the vehicle

15 through the windshield?

16 A.        No.   I have very little time       , when you're

17 traveling 65       and the other vehicle is traveling

18 approximately 80 miles an hour       , to see a lot .         S o you

19 concentrate     on certain things    so that you can identify

20 the car so you can pull over the right car.

21 Q.        And identifying that there's an         African-American

22 male driving the car doesn't assist you in finding that

23 car?

24 A.        No.

25 Q.        You're in    Wyoming; correct?




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 1 A.         I am.

 2            MR. MITCHELL:     No further questions.

 3            THE COURT:   A nything further ?

 4            MR. WARD:    I have no questions.      T hank you , Your

 5 Honor.

 6            THE COURT:   All right.    Anything further       ?

 7            MS. GREENBERG:     Your Honor , may the witness be

 8 excused ?

 9            THE COURT:   H e may , and hopefully      he finds his

10 suitcase.      You are excused .

11                    (W itness excused at 12    :06 p.m. )

12 Thereupon,

13                              ELLA KUBICZ ,

14 having been called as a witness on behalf of the

15 Plaintiff, and having been first duly sworn by the

16 Courtroom Deputy, was examined and testified as

17 follows:

18                         DIRECT   EXAMINATION

19            BY MS. GREENBERG:

20 Q.         If you could state your name and spell your name

21 for the court reporter       , please .

22 A.         My name is   Ella Kubicz .     My last name is spelled

23 K U B I C Z.

24 Q.         Where are you employed, ma'am?

25 A.         I'm employed by    Wyoming     State Crime Laboratory.




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 1 Q.         If you could sit as close to your microphone as

 2 you can.

 3            Can everyone in the jury hear her?

 4            What is the nature of your employment?

 5 A.         I am a supervising chemist at the crime

 6 laboratory.

 7 Q.         Could you give the jury some idea of your

 8 background, training and experience as a chemist for

 9 the Wyoming     -- state of    Wyoming?

10 A.         I gain a masters in      chemistry     and then     Ph. D. in

11 organic chemistry after        I was invited to          United   States,

12 because    I obtained my education in           Pol and.     I was

13 invited to     United    States to perform post      -doctoral

14 research work at        University of       Wyoming in     Laramie .

15            I spent two    years there and       I was hired by the

16 state as forensic toxicologist.               I was trained by both

17 Department of     Health in    Cheyenne , Wyoming and crime

18 laboratory in regards to forensic chemistry and

19 toxicology.

20            I also was trained by        FBI Academy in the same

21 regards and     Drug Enforcement        Administration.

22 Q.         Do you teach chemistry       ?

23 A.         Yes, I do.

24 Q.         Have you testified as an expert before in courts

25 in Wyoming?




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 1 A.         Yes, I did.

 2 Q.         State court?

 3 A.         State courts in     Wyoming , all sort of courts.

 4 Federal court, district.

 5 Q.         So you 've also testified in federal court          in

 6 Wyoming?

 7 A.         Yes, I did.

 8 Q.         Have you testified as an expert in forensic

 9 toxicology as well as chemistry and scientific

10 evidence?

11 A.         Yes.    I was qualified as expert in those three

12 areas.

13            MS. GREENBERG:      Your Honor , I move to admit this

14 witness , Ella Kubicz , as an expert in forensic

15 toxicology, chemistry        , and forensic science.

16            MR. MONTEMARANO :     No voir dire , Your Honor.

17            THE COURT:     Any cross-examination?

18            MR. HALL:    No , Your Honor.

19            THE COURT:     All righ t.   S he's qualified and will

20 be permit ted to express opinions in those three fields.

21            BY MS. GREENBERG:

22 Q.         Did you receive some evidence from an agent by

23 the name of       Pat Seals in connection with your work as             a

24 forensic chemist in        Wyoming?

25 A.         Yes, I did.




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 1 Q.       I'd like to direct your attention           --

 2          MS . GREENBERG:    I f I may approach the witness         ,

 3 Your Honor.

 4          THE COURT:     You may.

 5          BY MS. GREENBERG:

 6 Q.       Did you review certain        evidence   in my office

 7 last evening ?

 8 A.       Yes.

 9 Q.       Showing you wh at's been marked as          Drugs 43 B,

10 43 A, B, C, D -- I'm sorry , let many correct the record.

11          Drugs 43,    Drug 43 B, Drug 43 D, Drug 43 C, and Drug

12 43 A.   D id you review those exhibits?

13 A.       Yes , I did.

14 Q.       Are those exhibits that you analyzed?

15 A.       Yes, they are.

16 Q.       And also did you review the packaging that's

17 contained in Wyoming       2?

18 A.       Yes, I did.

19 Q.       Could you tell the jury how you know these are

20 the same drugs that you analyzed         ?

21 A.       I can recognize all these exhibits by my

22 initials on the packaging       , also by the laboratory case

23 number item number      , and I recognize my handwriting on

24 the packaging.

25 Q.       Now, could you tell the jury how you came into




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1 contact with these exhibits?

2 A.       The case was     ad mitted in    Wyoming   State Crime

3 Laboratory in March 15 of 2        00 4, and in April 9th of --

4 April of 2004 , I requested this evidence for analysis

5 and I worked this.

6 Q.       Did it look as it appeared today?

7 A.       No.   They looked differently.      They were packed

8 differently.      I placed this white powder in this

9 packaging , so I mark      "contents from " to recognize the

10 fact th at I place d the contents from original packaging

11 into this plastic bag.

12 Q.      Showing you what's been marked as           P-18 3.    Could

13 you tell the jury how that relates -- that picture

14 relates to the packages that you first got?

15 A.      On the picture      that you    showing everybody is the

16 original evidence origin      ally packed , and this is how        I

17 received when    I start working this case.

18 Q.      And what did you do after you received these

19 exhibits?

20 A.      After I received these exhibits         , I de scribe

21 every and each item in this case separately.              I opened

22 this packaging and     I weigh the contents of this

23 packaging separately.

24 Q.      How are the -- what was inside these packages

25 that we observe on     P-18 3?




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 1 A.        As far as    I remember, there were several

 2 packaging items inside of every package.         All the

 3 common denominator was the every          item in this case was

 4 wrapped in     Saran- like plastic wrap     , and inside there

 5 were several layers of softeners, duct tapes            , and other

 6 type of packaging.       A paraffin   -like wax and the latest

 7 container was a plastic bag and inside was a white

 8 powder.

 9 Q.        Did you review what was in the box          labeled   as

10 Wyoming     2 last evening?

11 A.        Yes , I did.

12 Q.        Does that contain the packaging that were around

13 these five bags of white powder?

14 A.        It does.

15           MS. GREENBERG:      Your Honor , may I approach the

16 witness ?

17           THE COURT:     You may.

18           BY MS. GREENBERG:

19 Q.        Showing you representative samples from this.

20 Could you explain to the jury what's in this bag?

21 A.        This particular bag contains of the -- part of

22 the packaging that original evidence was packed with                 ,

23 and this particular part of the packaging is this

24 paraffin wax , the items were secured or packed.

25 Q.        Another part of the packaging from          Wyoming 2 ?




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 1 A.        Yes.   This is another part of packaging.       Food

 2 saver plastic bags and softener tissues used              -- commonly

 3 used for laundry.

 4 Q.        And the other part that the representative

 5 sample from Wyoming       2?

 6 A.        Yes, that's the next part of the same packaging.

 7 This is the duct tape wrapping or packaging             this

 8 evidence was also wrapped with.

 9 Q.        Without going through each and every           item that

10 was in Wyoming     2, did you review each and every bag of

11 packaging to determine         if it had the same lab number         as

12 the lab number which you provided           to it ?

13 A.        Yes, I did .

14 Q.        Do each of these little bags have your bag

15 number?

16 A.        Yes.   All the packaging has the same laboratory

17 number as these items and as was mentioned in my

18 report.

19           MS. GREENBERG:       Your Honor , may I publish the

20 one bag with the fabric softener, the one bag with the

21 duct tape , and the one bag with the paraffin wax?

22           THE COURT:     You may.

23           BY MS. GREENBERG:

24 Q.        ting to the bags in front of you with the white

25 powder in them , could you tell the jury what you did




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 1 with the five separate packages of white powder that

 2 you were    provide d to analyze?

 3 A.         I have to state that our laboratory is

 4 accredited laboratory        , so our procedures is widely

 5 accepted in       forensic   community in this country.    The

 6 analysis    I performed is divide     d in two stages.

 7            The first is pres    ump tive tests, which consists

 8 of the color tests, and then definitive            testing is

 9 per formed using analy       tical instrument ation .     I n this

10 case , I performed gas chromatography analysis with mass

11 spectrometry .

12 Q.         Now , with each -- in connection with your test           s,

13 did you perform the same tests on each of these bags?

14 A.         Yes.    I perform the same tests on each and every

15 bag.

16 Q.         And the bags in front of you comport with the

17 bricks that are on       P-1 83?

18 A.         That's correct.

19 Q.         Did you weigh each brick without the packaging

20 before you performed the test?

21 A.         Yes, I did.

22 Q.         Starting with the first brick that you weighed            ,

23 could you tell the jury what the weight was of the

24 powder in one of these bricks        , and then go -- without

25 -- if you could go through the weight without the




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1 packaging for each item.

2 A.       Okay.   Can      I refresh my memory with copy of my

3 --

4 Q.       Certainly .

5          MS . GREENBERG:       Your Honor , may I approach with

6 Miscellaneous      8?

7          THE COURT:       You may.

8          BY MS. GREENBERG:

9 Q.       Is this your       identification r eport for this

10 particular analysis?

11 A.      Yes, it is.

12 Q.      If you could tell the jury         , please , the weight

13 of each of these bricks without the packaging              ?

14 A.      Brick N o. 1 A weighs 1 ,001 .9 of a gram.

15 Q.      And your       1A for our purposes is 43    C.

16 A.      My item    1B weighed 1 ,370 .8 of a gram.

17 Q.      And for our purposes        , that's   Drugs 43 B.

18 A.      Item 1C weigh ed 1 ,342 .7 of a gram.

19 Q.      And for    our purposes,      that's 43 A -- Drugs 43 A.

20 I'm sorry , Ms. Perez.       T hese are all    Drugs 43 .      If I

21 said 43 , I meant drugs.      Thank you.

22 A.      Item 1 D weighed 1 ,337 of a gram.

23 Q.      And for our purposes        , that's   Drugs 43.

24 A.      And Item 1E, I recorded the weight 1             ,364 .2 of a

25 gram.




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 1 Q.       For our purposes , that's       Drugs 43 B.

 2          And your initials are on the seals of all these

 3 exhibits?

 4 A.       Yes, they are on every bag.

 5 Q.       Are they in the same condition as when you --

 6 after you analyzed them?

 7 A.       Yes, they are.

 8          MS. GREENBERG:       Your Honor , may I publish         Drugs

 9 43 D to the jury ?

10          THE COURT:     You may.

11          BY MS. GREENBERG:

12 Q.       Now, getting back to the        tests that you

13 performed on these bags      , you performed a test on each

14 of these five separate bags?

15 A.       Yes, I did.

16 Q.       You kept it in the same condition as the

17 wrapping that it was on this picture             P-18 3?

18 A.       Yes.

19 Q.       And what's the first test you performed?

20 A.       The first test was presumptive test           , which was

21 the color test using the        cobalt thiocyanate         reagent .

22 Q.       Did the result s of the color test         s remain the

23 same for each of these fi       ve pa ck ages?

24 A.       Yes.

25 Q.       What was the     result   of the color test?




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 1 A.         The reagent turned from a clear liquid           -- not

 2 clear , I'm sorry.       There was marquee reagent was also

 3 used to test this white         powder .     The cobalt   thiocyanate

 4 originally is p ale pink color , and in the presence of

 5 this particular white powder          , it turn ed to blue.    Blue

 6 specks.

 7 Q.         What does that mean?

 8 A.         That means that probably         I have a cocaine in

 9 this case.

10 Q.         Did you run    a confirmatory test?

11 A.         Yes, I did.

12 Q.         What was that confirmatory test?

13 A.         I found the same fragments in the spectra of

14 this unknown substance as in certified laboratory

15 standard for cocaine hydr        ochloride.

16 Q.         Was that the same for each bag?

17 A.         Yes, it was.

18 Q.         So based on your testing        , what did you conclude

19 was contained in each one of the exhibits that               I just

20 showed you      Drugs 43, 43 A, B, and C, and D?

21 A.         In all five bags , I identified this white powder

22 as co caine .

23            MS. GREENBERG:      No further questions of this

24 witness,    Your Honor.

25            THE COURT:     All right   .    A ny cross-examination?




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1          MR. MONTEMARANO :      Thank you , Your Honor.

2                          CROSS-EXAMINATION

3          BY MR. MONTEMARANO :

4 Q.       Good afternoon , Ms. Kubicz .        H ow are you?

5 A.       Good afternoon .      I'm fine.

6 Q.       I guess Frontier      didn't lose your luggage.

7          You were talking about your lab being

8 accredited ; is that correct?

9 A.       That's correct.

10 Q.      That means you're run under certain specific

11 stringent standards    ; is that correct?

12 A.      That's correct.

13 Q.      So the results you obtain in your tests can be

14 obtain ed in another lab on that same sample; correct?

15 A.      That's correct.

16 Q.      And that's because given a similarity           , or given

17 the same unique tests, equipment, reagents           , and

18 chemicals , you should get the very same result off of

19 the same sample no matter w       he re it's done; correct?

20 A.      That's correct.

21 Q.      Whether it's     Wyoming,   Maryland or     Poland;   right ?

22 A.      That's correct.

23 Q.      But it won't tell you where the cocaine came

24 from, will it ?

25 A.      No.




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 1 Q.         It won't tell you where it's going        ?

 2 A.         No.

 3 Q.         Won't tell    you who owns it ?

 4 A.         No.

 5            MR. MONTEMARANO :     No further questions       , Your

 6 Honor.

 7            MR. MARTIN:     Mr. Goodwin     has no questions of

 8 this witness.

 9            MR. HALL:    No questions    , Your Honor.

10            MR. MITCHELL:    None.

11            MR. WARD:     No , thank you,     Your Honor.    No

12 questions.

13            THE COURT:    Any redirect    ?

14            MS. GREENBERG:    N o, Your Honor .      M ay the witness

15 be excused ?

16            THE COURT:    Y ou may.   Have a safe trip back to

17 Wyoming.

18                  (Witness excused at 12        :22 p.m. )

19            THE COURT:    Counsel, let's take a recess until

20 20 minutes of     1:00 .

21                          (Jury excused at 12:23 p.m.)

22                          (Off the record     at 12 :23 p.m. )

23                          (On the record at 12:41 p.m.)

24            THE COURT:    C ounsel , before we bring the jury

25 in , I wanted to talk to you about what time to start




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 1 next week on     Tuesday.      I had a matter that would have

 2 made it so     I couldn't start before           10:00 , but I could

 3 start before     10:00, if you 'd like.

 4            MR. SUSSMAN :     H ow much   before 10:00?

 5            THE COURT :   I could do      9:00 , 9 :30.

 6            Ms. Johnston, how are we on the schedule?

 7            MS. JOHNSTON:      Your Honor, my schedule has us

 8 finishing the calls with the interruptions by the end

 9 of next week.      I had hoped to be maybe closer to

10 halfway through the calls.          We're not far off         .   W e're

11 at Page 279.      I think there is 630 pages or thereabouts

12 of calls.

13            THE COURT:    Do we need some extra time?              I can

14 start early if you want.

15            MS. JOHNSTON:     What     I was thinking was that we

16 do have witnesses coming in          , I think , from New York on

17 Monday --     Monday night     to testify    Tuesday or       Tuesday

18 morning.      I don't have any problem starting at 9              :30.

19            THE COURT:    Let's start at 9        :30 unless anybody

20 from the defense has a problem with that.            All right           .

21 I'll tell the jury 9       :30, okay?     And we'll start on

22 Friday next week at        9:00 .

23            MR. MONTEMARANO :        Your Honor.

24            THE COURT:    9 :30 , on Tuesday.

25            MR. WARD:     Every day     or just    Tuesday ?




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 1           THE COURT:    Just     Tuesday.

 2           MR. MONTEMARANO :      An d 9 o'clock on        Friday ?

 3           THE COURT:    On     Wednesday , I could also start at

 4 9:30 if we need to     , and Thursday        I have a -- we're

 5 going to have to start at          10:00 because    I have a guilty

 6 plea at    9:00 and Friday we'll start at          9:00 .

 7           MS. JOHNSTON:        Your Honor , we would prefer to

 8 start Wednesday at      10 o'clock.         I think the     Court has a

 9 matter at    9:00 on Wednesday.

10           THE COURT:    All right    .   T hat's fine.      But we'll

11 start Tuesday at 9 :30.

12           MR. MONTEMARANO :      A nd we should plan on quitting

13 on Friday at     2- ish , the same no lunch      , two -break

14 schedule ?

15           THE COURT:    Yeah , two breaks and out of here.

16           MR. MONTEMARANO :       I just want to double check            .

17           THE COURT:    G ets you    almost the     same amount of

18 time.

19           MR. MONTEMARANO :       I'm not questioning that           .

20                  MS. GREENBERG:      J udge , what time are we

21 starting on    Thursday?

22           THE COURT:     I have a guilty plea at           9:00, so

23 unless    I set world speed record       , I could probably do

24 9: 45.

25                  (J ury returns at 12       :46 p.m. )




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 1                   (W itness      Sakala resumes the stand.      )

 2            THE COURT:     Ladies and gentlemen, before we

 3 proceed , I wanted to tell you this           .   O n Tuesday , we

 4 will begin at 9 :30 , and as I said earlier , I planned to

 5 do the same drill next           Friday we're do in g today so we

 6 can get you out of here early for the              4th of July

 7 weekend.     You may proceed.

 8            MS. JOHNSTON:        Thank you,   Your Honor.

 9                       FURTHER    DIRECT   EXAMINATION

10            BY MS. JOHNSTON:

11 Q.         Detective    Sakala , I think     when we left off , we

12 had just fin ished April 2nd .            Calling your attention to

13 April 3 rd of 2004 , are there some calls that we've

14 selected for playing to the jury?

15 A.         Yes, there are.

16 Q.         Calling your attention to A770.        Is that the

17 next call?

18 A.         Yes.

19 Q.         That's on    Page 279?

20 A.         Yes.

21 Q.         Is that part of a series of telephone calls?

22 A.         Yes.

23 Q.         Who are the parties to those telephone calls?

24 A.         Paulette    Martin and     Larry Nunn, and then      Gwen

25 Levi in subsequent calls.




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 1 Q.         What are the calls that go together in addition

 2 to A770?

 3 A.         B2618, 2648, 2649, 2658, 2661.

 4 Q.         Over what time period do those calls take place?

 5 A.         The first call , A770 , takes place on          April 3rd

 6 at 12 :12 , and the last call takes place on the same day

 7 at 7 :19 p.m.

 8 Q.         If we could please begin with A        770 on    Page 27 9.

 9 If we could play that call        , please.

10            (Audio r ecording begins     playing at     12 :48 p.m. )

11            (Audio recording     stops playing     at 12 :49 p.m. )

12            BY MS. JOHNSTON:

13 Q.         The ne xt call,    B2618 , on Page 280.     What time

14 does that take place in relation to the first call?

15 A.         It takes place at 1    :33 p.m ., about an hour and

16 15 minutes later.

17 Q.         If we could play     B2618 on   Page 280.

18            (Audio r ecording begins     playing    at 12 :49 p.m. )

19            (Audio recording s    tops playing     at 12 :49 p.m. )

20            BY MS. JOHNSTON:

21 Q.         The next call,     B2633 -- s trike that , not 2633         --

22 2649 on    Page 280 .

23 A.         2648?

24 Q.         2648 -- Thank you , Detective      Sakala    -- on Page

25 28 4.




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 1          (Audio   recording begins      playing    at 12 :50 p.m. )

 2          (Audio recording      stops playing      at 12 :50 p.m.)

 3          MS. JOHNSTON:     N ow if we could proceed to         B2649

 4 on Page 28 5.

 5          (Audio r ecording     begins playing      at 12 :51 p.m. )

 6          (Audio recording      stops playing      at 12 :51 p.m. )

 7          BY MS. JOHNSTON:

 8 Q.       Then Call B2658 at       Page 28 6, what time does this

 9 call take place?

10 A.       7:10 p.m. on     April 3rd .

11 Q.       If we could play the call       , please .

12          (Audio r ecording begins       playing    at 12 :51 p.m. )

13          (Audio recording      stops playing      at 12 :51 p.m.)

14          BY MS. JOHNSTON:

15 Q.       And Call B2661 on      Page 28 8.    If we could play

16 that call , please .

17          (Audio r ecording starts       playing    at 12 :52 p.m. )

18          (Audio recording stops playing           at 12 :52 p.m .)

19          BY MS. JOHNSTON:

20 Q.       Going back to the first call, A          770 ,

21 preliminar il y, did you form an opinion as to what

22 occurred on April      3 of 2004 between      Ms. Martin,    Mr.

23 Nunn and Ms. Levi?

24 A.       Yes.

25 Q.       What is your opinion?




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1 A.         Ms. Martin was obtaining 50 grams of heroin from

2 Ms. Levi to sell to         Mr. Nunn .

3 Q.         If we could go , then , to A770.        First of all       , in

4 terms of the a      house keepi ng matter.      In the front of

5 Volume     1, there is a chronology or index of intercepted

6 calls .    A re you familiar with that?

7 A.         Yes, I am.

8 Q.         And calling your attention to Page 12 of that

9 index , is there a mistake made in the listing of               Call

10 A770?

11 A.        Yes, there is.

12 Q.        On Roman Numeral Page 12.        And what is the

13 mistake in the index?

14 A.        The telephone in the index is described as a

15 telephone conversation between            Paulette    Martin and    Luis

16 Mangual   on April 3 at 12     :12.     The conversation is

17 actually a conversation between            Paulette    Martin and

18 Larry Nunn on April 3        at 12 :12.

19 Q.        Now , if we could get back to the           Call A770 on

20 Page 279.    Based on your training and experience            , were

21 any code words used during that conversation?

22 A.        Yes.

23 Q.        Okay.   What word and how is it used?

24 A.        About the middle of the conversation there,

25 Larry Nunn asks , when you get a chance, check and see




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 1 if she   ain't have any     more tickets.     Referring to see

 2 if Gwen Levi has any more heroin.            Paulette    Martin

 3 confirm s the amount as being 50 more tickets            , meaning

 4 50 grams of heroin     , and Larry Nunn says , I'm going to

 5 see now about that.        I said make sure she d       o;

 6 otherwise , she's going to       go check on the money         for the

 7 customer , and he wanted to make sure          Gwen could do it.

 8 Q.       Could you make a notation on our chart there

 9 next to the word      "tickets " for Page 279?

10 A.       (Witness indicating.      )

11 Q.       If we could then move to        Call B2618 on       Page 280.

12 If you could explain to us       , based on your training and

13 experience , what codes are used in this call and how

14 th ey're used .

15 A.       Paulette    Martin , the second line , talking to

16 Gwen Levi says , Larry was       wondering    if they could get

17 some more of those novels to read         , changing the code

18 word from    "tickets " to "novels " from the previous

19 conversation ; and in other words        , saying that       Larry was

20 wonder ing if you had any       more heroin to sell      .

21          And then    Gwen continues the conversation later

22 down saying , I just came from the library and               I had

23 some other book s in the back of the car          .   I was getting

24 ready to take them back      , saying yes , she does have

25 heroin for sale , and then       Paulette goes , let me know




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 1 how many -- let me see how              many novels    they want and

 2 I'll let you know       .    I n other words , let me check with

 3 Larry and find out how much heroin he wants.

 4 Q.         If you could , next to the word             "novels ," enter

 5 Page 280.

 6 A.         (Witness indicating.         )

 7 Q.         And then if we could go to             Call B2648.     Based on

 8 your training and experience             , what are they discussing

 9 -- Ms. Levi and      Ms. Martin         discussing in that call?

10 A.         The second       sentence,       we've gone the previous

11 call s "tickets " and "n ovels ," we're now back to

12 "tickets ".     Gwen says , you want            to leave   me -- you want

13 me to leave     the tickets and go on about my               -- and she

14 cut s herself off , I'll see you tomorrow              .    S aying that

15 I'll leave the heroin           with you , I'll go on about my

16 business and     I'll get the money from you at another

17 time.

18            Paula says, yeah, whatever.           If you want to       , we

19 can do it that way.         Saying that          Gwen can leave the

20 heroin with her , she'll get the money from                  Larry , and

21 then pay    Gwen on another day          , and then    Gwen concludes

22 that that way     I ain't going to make another trip over

23 there , meaning    I'm not going to come over and pick the

24 money up    just for that.

25 Q.         If we could make a notation on our               chart , Page




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1 284, for the term      "tickets ".

2 A.       (Witness indicating.       )

3 Q.       And then    Call B2649 on      Page 28 5.   What -- based

4 on your training and experience         , what does    Ms. Martin

5 tell Mr. Nunn ?

6 A.       Well, third sentence in the conversation            ,

7 Paulette's saying     , yes, she's going      to bring me 50

8 tickets anyway , she's going         to leave the tickets here

9 for the show .      M eaning that    Gwen is going    to bring the

10 50 grams of heroin and she's going leave the heroin

11 with me for you.

12 Q.      Now, if you could enter         Page 28 5 on the chart

13 next to the word     "tickets ".

14 A.      (Witness indicating.       )

15 Q.      And based upon your training and experience             ,

16 what does    Mr. Nunn tell Ms. Martin concerning what's

17 going to be done with those tickets?

18 A.      Near the bottom , he says, I ain't heard nothing

19 from them , referring to his customers        , so he doesn't

20 know exactly what's going on or what's for sure

21 happening,    but they   ain't going to go to waste or

22 nothing , meaning the heroin isn't going to go            to waste ,

23 so it gets sold one way or another.

24 Q.      In fact , above that , does he reference how it

25 might get handled if he doesn't hear from his




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1 customers?

2 A.       He'll end up getting them tomorrow himself,

3 referring to the heroin      , getting it the next day         .

4 Q.       When we look at      Call B2658 on     April 3rd      on Page

5 28 7, there is a reference to        Ms. Levi coming down the

6 street; is that correct?

7 A.       Yes.

8 Q.       What time is that call?

9 A.       That was at 7 :10 p.m.

10 Q.      If I could have V Number        9, please.     Have you

11 had occasion to view what's been marked as V           -9 ?

12 A.      Yes, I have.

13 Q.      What is that?

14 A.      It's a pole cam tape for        April 3rd,    2004 , from

15 1:30 p.m. to 9 :30 p.m.

16 Q.      Did you make -- did you review it?

17 A.      Yes.

18 Q.      And make any observations concerning the time

19 frame around 7 :10 p.m .?

20 A.      Yes.

21 Q.      Okay.   What were you able to        observe ?

22 A.      About 7 :11 p.m ., Gwen Levi arrived at the

23 residence.

24 Q.      Now, are there any difficulties in seeing the

25 vehicles and the actual people getting in and out of




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1 the vehicle?

2 A.          If you had just the tape, yeah, you would have

3 difficulty,        but with the conversation      and the tape ,

4 it's clear it's        Gwen Levi , though , showing up.

5 Q.          Your conclusion is based upon the calls as well

6 as the video?

7 A.          Correct.

8 Q.          And do you know approximately what time            Ms. Levi

9 departed the residence?

10 A.         About 17 minutes after,      so there about six

11 minutes.

12 Q.         Excuse me?

13 A.         She was there about six minutes.

14 Q.         If we could go the next set of calls        , calling

15 your attention to       B2663 [sic].

16 A.         Yes.

17 Q.         Is that call , which appears on       Page 28 1, a call

18 in a series of calls?

19 A.         Page 28 8?

20 Q.         No, Call B2633 on      Page 28 1.   Is that call

21 related to?

22 A.         Okay .   I'm sorry .    I didn't know we were

23 finished with the other series, 2661.

24 Q.         Before we move on you're -- if we could go to

25 Call B2661 , the last call in this series          , the April 3rd




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 1 series with       Ms. Martin and    Ms. Levi , based on your

 2 training and experience         , is there any significance

 3 about that call?

 4 A.        Yes.

 5 Q.        What is that?

 6 A.        There's a problem with the weight of the heroin

 7 and Ms. Levi had left the residence            , and Ms. Martin

 8 calls her and       Ms. Levi says , it must be mine , it must

 9 be my machine , meaning my scale           , and Paulette    Martin

10 says , I've done put it on         two different machines      ,

11 meaning she's weighed the heroin on two different

12 scales.

13 Q.        And how soon after       Ms. Levi is observed

14 departing from the residence does this call take place?

15 A.        Two minutes.

16 Q.        Now , if we could go to the next series of calls

17 beginning with 2633 on          Page 281 , and is that call

18 related to other calls?

19 A.        Yes.

20 Q.        Okay.    What are the other calls that are part of

21 the series that begin with          Call B2633 on    Page 28 1?

22 A.        2634, 2659 , A894, B2952, 2953,         29 57, 2958 , and

23 2959.

24 Q.        Who are the parties in those various calls?

25 A.        Paulette    Martin,    Derrick    Bynum , Claude   Arnold ,




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 1 and I believe that's it.

 2 Q.         Do those calls take place over two different

 3 days?

 4 A.         Yes.   They start on      April 3rd   and conclude on

 5 April 7.

 6 Q.         If we could begin with       B2633 , what is the date

 7 and time of that call?

 8 A.         That's on    April 3rd    from 3 :48 p.m.

 9 Q.         And the part ies to      that conversation?

10 A.         Paulette    Martin and    Derrick   Bynum .

11 Q.         If we could play     B2633 on   Page 28 1.

12            (Audio r ecording begins playing at           1:03 p.m. )

13            (Audio recording stops playing at           1 :04 p.m. )

14            BY MS. JOHNSTON:

15 Q.         If we could do the next call        , B2634 on    Page 28 3,

16 what is the date and time of this call?

17 A.         April 3rd,    2004 , at 3 :50 p.m.

18 Q.         How soon is this after the one we just heard?

19 A.         Immediately thereafter.      It's the next call.

20 Q.         If we could please play       B2634 .

21            (Audio recording starts playing at 1           :04 p.m.)

22            (Audio recording stops playing          at 1 :05 p.m. )

23            BY MS. JOHNSTON:

24 Q.         If we could go to the next call,          B2659 , on Page

25 28 7.   What is the date and time of this call?




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 1 A.       Same date , April 3rd,      2004, 7 :16 p.m.

 2 Q.       If we could play the call        , please.

 3          (Audio r ecording starts       playing    at 1 :06 p.m. )

 4          (Audio recording      stops playing      at 1 :06 p.m.)

 5          BY MS. JOHNSTON:

 6 Q.       Now, calling your attention to the next call               .

 7 A89 4 on Page 29 4.     What date and time does this call

 8 take place?

 9 A.       April 7, 2004 , at 10 :19 a.m.

10 Q.       And who are the parties?

11 A.       Paulette    Martin and    Derrick    Bynum .

12 Q.       If we could play the call        , please .

13          (Audio r ecording begins       playing    at 1 :07 p.m. )

14          (Audio recording      stops playing      at 1 :08 p.m. )

15          THE COURT:     What page was that      , Counsel ?

16          MS. JOHNSTON:       Your Honor , that was on      Page 29 4.

17          BY MS. JOHNSTON:

18 Q.       If we could go to the next call in series             B2952

19 on Page 296.      W ho are the part ies to      this call ?

20 A.       Paulette    Martin and    Claude    Arnold.

21 Q.       Who is    Mr. Arnold?

22 A.       A friend/associate of       Ms. Martin and      Ms. Levi's.

23 Q.       If we could play      B2952 on     Page 296.

24          (Audio r ecording begins       playing    at 1 :09 p.m. )

25          (Audio recording      stops playing      at 1 :09 p.m.)




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 1          BY MS. JOHNSTON:

 2 Q.       Then Call B2953 on       Page 29 7.     Is that between

 3 the two parties?

 4 A.       Paulette    Martin and    Claude    Arnold again.

 5 Q.       How much time goes by in between the calls?

 6 A.       About five minutes.

 7 Q.       If we could play      B2953 on     Page 29 7, please.

 8          (Audio r ecording begins         playing    at 1 :10 p.m. )

 9          (Audio recording      stops playing        at 1 :11 p.m. )

10          BY MS. JOHNSTON:

11 Q.       Going to the next call         , B2957 on    Page 29 9.       Who

12 are the parties to this call        ?

13 A.       Paulette    Mart in and Derrick       Bynum .

14 Q.       If we could play the call         , please.

15          (Audio r ecording begins         playing    at 1 :11 p.m. )

16          (Audio recording      stops playing at          1:11 p.m. )

17          BY MS. JOHNSTON:

18 Q.       And B2958 on Page 300        , when does that call take

19 place?

20 A.       3:26 p.m. on     April 7 .

21 Q.       Immediately after the preceding call?

22 A.       Yes.

23 Q.       And the parties are who?

24 A.       Derrick    Bynum and Paulette       Martin.

25 Q.       If we could play      B2958 on Page 300         .




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 1           (Audio r ecording begins      playing    at 1 :12 p.m. )

 2           (Audio recording stops playing at          1:12 p.m. )

 3           BY MS. JOHNSTON:

 4 Q.        And B2959 , what is     B2959 on   Page 301?

 5 A.        It's a   message left    by Paulette     Martin on

 6 Derrick   Bynum's   answering machine or cell phone at 3

 7 p.m. on the 7th.

 8 Q.        If we could play it     , please , on Page 301.

 9           (Audio r ecording begins      playing    at 1 :13 p.m. )

10           (Audio recording     stops playing      at 1 :13 p.m.)

11           BY MS. JOHNSTON:

12 Q.        Based upon your training and experience, did you

13 form an opinion as to what's occurring during this

14 series of calls?

15 A.        Yes.

16 Q.        What is that?

17 A.        Some of the cocaine that       Ms. Martin had sold to

18 Mr. Bynum , Mr. Bynum was -- said that the quality was

19 very poor , being one step above artificial.          She then

20 makes arrangements to get the cocaine back from                Mr.

21 Bynum and resell that cocaine to          Mr. Arnold , where I

22 believe it was two     -eighths of a kilogram that he's

23 going to pay $3,300 for each one         , but only pay     for one ,

24 the first one , and have the other one fronted to him.

25 Q.        Now , if we could looking at       B2633 on    Page 28 1.




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 1 Can you identify what part of that particular call

 2 supports your opinion?

 3 A.         Just below , or about a third up from the bottom             ,

 4 where Derrick     Bynum says , whoever      you went to , don't go

 5 back.   Whoever you went to      , don't go back because they

 6 -- they -- I'm refunding everybody.         Meaning whoever

 7 Ms. Martin got the cocaine from         , he should not go back

 8 because he's having to refund all his customers because

 9 of the low quality and       Ms. Martin asks what?

10            He goes on to say it's one step away from being

11 artificial , meaning it's one step away from not being

12 cocaine.     She says that she has not had any other

13 problems or any other complaints         , and they go on to

14 talk about Mr.     Bynum says , how would you know about any

15 other complaints , on Page 28 2, because you told me             I

16 was the only one.        Ms. Martin says that she had let

17 someone else try it      , and she goes on to tell him to

18 bring it back and he just        says , okay.     He doesn't say

19 he's going to     or not .

20 Q.         Based upon the series of conversations         , were you

21 able to determine what drug was          the bad drugs in this

22 case , or the artificial       -- almost artificial?

23 A.         Two eighths   of a kilogram , or quarter kilogram

24 of crack cocaine.

25 Q.         Now, if we could turn to the next call,           B2634,




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 1 on Page 283.      Is there anything in this call that

 2 supports your opinion that         Mr. Bynum was returning bad

 3 crack cocaine ?

 4 A.        She calls up , "she " being       Ms. Martin , called

 5 Derrick   Bynum back and tells him that her brother            ,

 6 "Goody " Learley     Goodwin,    had got five of them      , meaning

 7 five kilograms from them        , and he   ain't had no

 8 complaints last night.

 9 Q.        And what does     Mr. Bynum want do with the portion

10 of cocaine --

11 A.        He's about to come over     , pick it up .       H e wants

12 to pick it up -- he wants         Ms. Martin to take       Mr. Bynum

13 to those people so they can kind of have a face              -to -face

14 confrontation or conversation about whether the stuff's

15 good or not , and Ms. Martin says she's not going to do

16 it , and -- doesn't want do that         , just to bring the

17 cocaine back to her.

18 Q.        Likewise in     Call 2659 on     Page 28 7?

19 A.        Pa ulette says to     Mr. Martin --    Mr. Bynum , I've

20 been waiting here all the time        , you ain't got here , and

21 Mr. Bynum says , I didn't tell you          I was going to bring

22 it back , and Mr. Bynum just says , I'll call you back.

23 Q.        Then the   calls move from       April 3rd    to April   7 of

24 2004; is that correct?

25 A.        Yes.




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 1 Q.        Calling your attention to          Page 29 4.   What a re

 2 they discussing in this call,        Mr. Bynum and Ms. Martin?

 3 A.        Ms. Martin says she's been out of town and they

 4 haven't --     Mr. Bynum hasn't been able to get a hold of

 5 Ms. Martin.

 6 Q.        Is there discussion of a different cell phone

 7 number?

 8 A.        Yes. A   private   number she refers to it       , which is

 9 just another cell phone that she had.

10 Q.        And there's a reference to crib.

11 A.        That's referring to her house on top of            Page

12 295 , and they conclude the call with            Mr. Bynum just

13 saying he's going to go by there         .     H e says his car is

14 finished being worked on      , go see       Ms. Martin at her

15 house.

16 Q.        Then on that same date    , B2952 , the call between

17 Ms. Mart in and Mr. Arnold , based on your           opinion, how

18 does this call relate to the discussion             just described

19 between     Ms. Martin and   Mr. Bynum ?

20 A.        She call s -- in Call 2952 on         Page 29 6, she calls

21 Mr. Arnold and tells him that he has a -- she has a

22 ticket    I need to you to move    , about mid dle of the page

23 there , meaning she has some cocaine            that she wants him

24 to sell .     A nd then she turns in the background and has

25 a conversation with      Mr. Bynum and says , how soon do you




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 1 think you can get back       over, here meaning how          soon do

 2 you think you can retrieve the drugs and bring them

 3 here.

 4           She goes back to the conversation with              Mr.

 5 Arnold.   She says    , I've been shopping       .     I've been

 6 waiting on somebody else        , meaning    I've been waiting on

 7 someone else to get cocaine from           , and Ms. Martin says

 8 that he can't --      Mr. Arnold says       we can't wait      and Ms.

 9 Martin says , that's fine , and they hang up.

10 Q.        Then B2953 , the immediate next call           , is that

11 also between     Ms. Martin and     Mr. Arnold ?

12 A.        Yes.   This is where they         identify    the quantity

13 of cocaine they've been talking about            , beginning of the

14 conversation .     I know somebody w       here I may be able to

15 get , you know , a c oup le of them tickets .            H ow many of

16 them do you want , referring -- asking               Mr. Arnold how

17 much cocaine does he want.       He says      , I can take two ,

18 but I can only pay cash for one.          In other words        , he

19 can pay cash for one he         wants the    other one fronted or

20 provided on consignment to         him.

21           Further down , he says , you know what size               I'm

22 talking about     -- this is     Mr. Arnold .     Y ou know what          I

23 mean , I want two , and Paulette          Martin identifies it       ,

24 you want two size      eights   for our     Goddaughter , and we've

25 switched just in those lines from tickets                -- she's




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1 talking about tickets to now clothing to size                eights

2 for the     Goddaughter .    A nd she asks again    , you want two

3 size eights,       and he says , yes , and

4 Ms. Martin says , it's $33 referring to $3,300              , which

5 would be the price for an eighth of a kilogram of

6 cocaine .     A nd he reiterates he can only pay for one               and

7 she says that's not a problem.

8 Q.        Base d upon your training and experience           , did you

9 form an opinion as to whether it's co          caine or cocaine

10 base?

11 A.       On additional conversations        , we're going to see

12 -- we're going to be clear it's cocaine base           .     W e're

13 talking about crack.

14 Q.       I believe you testified earlier that           Mr. Bynum

15 was receiving kilograms from        Ms. Martin?

16 A.       Yes.

17 Q.       Is that inconsistent with the quantity being

18 offered to or that      Mr. Arnold wants from       Ms. Martin?

19 A.       No.     He's returning what's left of the kilogram             ,

20 which is a quarter kilogram he's got left.

21 Q.       Now, you referred to the term "ticket",             I

22 believe, on      Page 296; is that correct,       as a code word

23 for drugs ?

24 A.       Yes .

25 Q.       Then also on 29 7, could you write that on our




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1 chart , please?

2 A.        (Witness indicating     .)

3 Q.        We have a reference to clothing         , or two size

4 eights for your      God daughter.     W ould you note that , Page

5 29 7?    Just tell us what words you're associating it

6 with .

7 A.        Outfit .   (W itness indicating.    )

8 Q.        And then the next calls will be played           B2957 ,

9 2958 .    And in those two calls       , is there a general

10 discussion with -- between        Ms. Mart in and    Mr. Bynum

11 about refunding his money?

12 A.       Yeah.   In 2957 , she calls      Mr. Bynum to find out

13 where he's at .     H e hadn't left yet.    Middle of the

14 page , or just below , she actually has a background

15 conversation talking to a person named           Skip , that's    Mr.

16 Arnold's nickname    , telling you can come back         later on ,

17 then.   Then she goes back to him        , and Mr. Bynum says

18 come on as soon as possible.

19 Q.       In reference to that call       , was there a -- did

20 you review the pole camera marked as          Video 12 to

21 determine whether     or not   Mr. Arnold was     ,in fact , at

22 the residence at the time of this conversation?

23 A.       Yes.

24 Q.       Or shortly thereafter?

25 A.       He arrived at 3 :22 and departed at 3 :27.




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 1 Q.         Now --

 2            MR. MONTEMARANO :       Objection , Your Honor .     C ould

 3 we be heard at the bench       ?

 4            THE COURT:   Y ou may .

 5                     (At the bar of the Court.)

 6            THE COURT:   What is your objection       ?

 7            MR. MONTEMARANO :       I was mulling over how to

 8 address this with regard to the previous testimony

 9 concerning the pole camera.         Sergeant     Sakala just

10 testified that from the pol          e camera he could not

11 determine who came to the house.

12 He offered us , with regard to the last series of calls                  ,

13 a supposition, permit me, "guess          ," as to who these

14 people were based upon the conversations           , not based

15 upon the pole camera.      He cannot testify from the pole

16 camera .    I, therefore , suggest that this is more of the

17 same thing , and for that reason          I am both objecting to

18 this as well as the previous one           and mov ing to strike

19 the previous one.

20            MS. JOHNSTON:     I can go ahead and play         Video 12 .

21 The detective will recognize the car of            Mr. Arnold as

22 well as    Mr. Arnold, based upon his ga       it and the     way he

23 walks.

24            THE COURT:   You can cross-examine him if he

25 states that he recognizes him.




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 1          MR. MONTEMARANO :      He just said he couldn't from

 2 the pole camera.

 3          MS. JOHNSTON:       Your Honor , that was different

 4 video at a different time of day.         He's already

 5 explain ed there are problems with these videos in terms

 6 of the camera angle, and sometimes --

 7          THE COURT:     Whether he can or can't rec           ognize

 8 him from a particular pole camera video is a question

 9 that you can inquire on        cross- examination.      He can

10 testify if he recognizes him        .    H e can do it on direct ,

11 and you can cross     -examine him about it.

12          MR. MONTEMARANO :      Thank you , Your Honor.

13          THE COURT:     You can justify the basis for it and

14 we can move on.

15          MR. MONTEMARANO :      Thank you .

16          THE COURT:     O verruled .

17                       (B ack in open court.       )

18          BY MS. JOHNSTON:

19 Q.       Detective    Sakala , did you have occasion to

20 review   Government's     Exhibit V -12?

21 A.       Yes.

22 Q.       We're going to put it          in the   machine so you can

23 take a look at it.

24                  (Videotape begins at 1          :25 p.m. )

25          BY MS. JOHNSTON:




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 1 Q.       If you could describe what we're           ob serving here .

 2 A.       This is    Paule tte Martin's     Mercedes.   T his is

 3 Claude   Arnold    and his   Thunderbird pulling up      .

 4 Q.       Had you seen him operating that          Thunderbird on

 5 numerous occasions?

 6 A.       Yes.

 7 Q.       What is    the time that he arrives there?

 8 A.       3:22 p.m.

 9 Q.       Was there anything in particular about              Mr.

10 Arnold that distinguished him from other people in

11 terms of the way he walked and approached the

12 residence?

13 A.       Some people walk differently, park differently             ,

14 some people park on different sides of the street               , you

15 got to know the patterns of the people coming.

16 Q.       Is that him coming out and         going back into the

17 residence?

18 A.       That's correct.

19 Q.       Do you recall approximately what time he departs

20 the residence?

21 A.       He should leave at about 3        :27.   That's him

22 returning to his vehicle.

23 Q.       We can stop the video now.

24                   (Videotape stops at 1     :27 p.m. )

25          BY MS. JOHNSTON:




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1 Q.         Going back to the series of calls that we

2 played , after B2958 on      Page 300, again, is this,         again ,

3 a discussion between       Ms. Martin and     Mr. Bynum

4 concerning the bad --

5 A.         Yeah.   On Page 300,    Mr. Arnold is trying to tell

6 him to bring the drugs back.       S    he want s to give him his

7 money back , and he's not really -- he's just saying

8 don't worry about it.       She's still try      ing to convince

9 him to     bring the drugs back so he can give them to              Mr.

10 Arnold.

11 Q.        And then finally on     B2959 , is that the message

12 she leaves for him?

13 A.        Yeah.   In fact, she says in the message that

14 Skip is going to take it       , meaning   Mr. Arnold is going

15 to take the drugs    , it's not a problem     , and just leaves

16 the message that he'll      get his money back and it's not

17 going to be a problem     , that Mr. Arnold will take the

18 drugs.

19 Q.        Now, those calls happen     , then , April 3rd     and

20 April 7; is that correct ?

21 A.        Yes.

22 Q.        On those two days?

23 A.        Yes.

24 Q.        In between , do we also have some other calls

25 that were taking place      during the interim with other




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 1 people?

 2 A.        Yes.

 3 Q.        Calling your attention to          B2784 on    Page 289.

 4 Wha t is the date and time of that call              and who are the

 5 part ies in this call?

 6 A.        This was on    April 5th , 2004 , at 1 :11 p.m.

 7 between   Paulette    Martin and     George    Harris.

 8 Q.        And if we could play       B2784 on       Page 289 .

 9           (Audio r ecording begins         playing    at 1 :29 p.m. )

10           (Audio   recording stops        playing    at 1 :29 p.m. )

11           BY MS. JOHNSTON:

12 Q.        Then B2787 on       Page 290.    Who are the part      ies to

13 that call?       I'm sorry,    Detective     Eveler [sic] .      Who are

14 the parties to the call,          B2787 on    Page 290?

15 A.        Paulette   Martin and     Milburn    Bruce Walker      at 1 :32

16 p.m. on the 5 th of April .

17 Q.        The same date and close in time to the call with

18 Mr. Harris and Ms. Martin ?

19 A.        Yea h about 20 minutes later.

20 Q.        If we could play that call as well.

21           (Audio r ecording be gins playing at           1 :30 p.m. )

22           (Audio recording       stops playing       at 1 :30 p.m. )

23           BY MS. JOHNSTON:

24 Q.        And based upon your training and experience,

25 what were the purposes of the calls between                Mr. Harris




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 1 and Ms. Martin and      Mr. Walker and Ms. Mart in?

 2 A.       Th ey were making arrangements to come over to

 3 the residence to purchase drugs from her.

 4 Q.       Now , if we could turn our attention to           B2790 on

 5 Page 29 1.    What is the date and time of this call?

 6 A.       It's on    April 5th , 2004 , at 1 :44 p.m.

 7 Q.       Who are the parties to this call         ?

 8 A.       Tiffany    Vessels    and Paulette    Martin.

 9 Q.       If we could play this call        , please.

10          (Audio r ecording begins       playing   at 1 :31 p.m. )

11          (Audio recording stops playing at 1           :33 p.m.)

12          MR. MARTIN:      Your Honor , no need to approach         ,

13 just a   continu ing objection on       Rule 106 .     I think this

14 may be another one of those problems.

15          THE COURT:     All right.

16          MS. JOHNSTON:     Detective --

17          THE COURT:     Did you want to       approach ?

18          MR. MARTIN:     No.     I don't think it's necessary          .

19 I think the record reflects.

20          THE COURT:     All right.

21          BY MS. JOHNSTON:

22 Q.       Again , are you playing just a portion of the

23 call?

24 A.       Yes.

25 Q.       How long was this call?




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1 A.          Sixteen   -- yeah, 16 minutes.     Six minutes      , I'm

2 sorry.

3 Q.          How did you determine only to play this portion

4 of the call?

5 A.          The rest of the call just wasn't pertinent to

6 the case here.

7 Q.          Could you tell     us, based on your training and

8 experience , what is pertinent to this case in this

9 conversation?

10 A.         Tiffany   Vessels is on another phone while she's

11 talking to     Paulette     Martin , that's the background

12 conversation you hear.        She's on the phone with        Learley

13 Goodwin,    and Mr. Goodwin       is directing her to a location

14 in the residence to find something and then take that

15 something to bring it to          Paulette   Martin on   Hayward

16 Avenue.

17 Q.         Were you able to determine what that something

18 was?

19 A.         Not de finitively , no.

20 Q.         And who   is Tiffany    Vessels in relation to       Mr.

21 Goodwin?

22 A.         Learley   Goodwin 's girlfriend.

23 Q.         Do you know where they resided?

24 A.         In Washington,     D. C. -- Farragut    Place , I

25 believe.




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 1 Q.       Now if we could go to the next call,            B2827, on

 2 Page 293.

 3          Who are the part ies to       this call ?

 4 A.       Pa ulette   Martin and    Luis Mangual .

 5 Q.       What 's the date     and time of this call?

 6 A.       On April 5th , 2004 , at 6 :30 p.m.

 7 Q.       If we could play this call, please          , Page 29 3.

 8          (Audio r ecording begins       playing    at 1 :35 p.m. )

 9          (Audio recording      stops playing      at 1 :35 p.m.)

10          BY MS. JOHNSTON:

11 Q.       Detective    Sakala , did you form an opinion based

12 on your training and experience as to what             Ms. Martin

13 and Mr. Mangual      were discussing in this call?

14 A.       Yes.

15 Q.       What is that?

16 A.       She's calling him t      o find out if he had any

17 cocaine for sale.

18 Q.       And what is the code she uses for cocaine in

19 this call?

20 A.       She says did you have any         more of those

21 Ferragamo    shoes in your clothing store         , meaning does he

22 have any cocaine      that he can sell her.

23 Q.       Now , based upon your review of these search

24 warrant items recovered from         Mr. Mangual's     house, what ,

25 if any , evidence did you find that he operated a




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 1 cloth ing store ?

 2 A.         Did not operate a clothing store.

 3 Q.         Do you have any evidence        that he was a wholesale

 4 distributor or        sold Ferragamo    shoe s in any way?

 5 A.         He had nothing do with the shoe business.

 6 Q.         If you could please write         "Ferragamo      shoes " on

 7 the board as     a drug code and        put Page 29 3.

 8 A.         (Witness indicating.     )

 9 Q.         If we could proceed to        Call B3019 on Page 302.

10 What is the date and time of this call?

11 A.         This is on April 8, 2004       , at 8 :12 a.m.

12 Q.         Who are the parties to this call             ?

13 A.         Paulette    Martin and   Eugene    Bird .

14 Q.         If we could please play        B3019 on Page 302 of the

15 transcript book.

16            (Audio r ecording begins       playing       at 1 :37 p.m. )

17            (Audio recording    stops playing        at 1 :38 p.m.)

18            BY MS. JOHNSTON :

19 Q.         Detective    Sakala , based upon your training and

20 experience , what is i t that Ms. Martin                is dis cussing

21 with Mr. Bird during this conversation              ?

22 A.         Ms. Martin is telling        Mr. Bird about the -- her

23 distrust    -- or , well , she's    worried a bout Derrick

24 Bynum .    She goes on , two-thirds of the way down              , to say

25 if anything ever happened to me           , that's who , meaning if




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 1 anybody -- if she was ever murdered or killed.

 2           MR. MONTEMARANO :     Objection , Your Honor.           May we

 3 approach ?

 4           THE COURT:    Y ou may.

 5                    (At the bar of the Court.)

 6           MR. MONTEMARANO :     Your Honor , when an attorney

 7 says to the    Court , "with all due respect          ," that's

 8 usually the code word where something bad              , the attorney

 9 is about to say , but I say it nonetheless.             With all

10 due respect , I don't want to phrase it this way             , but I

11 have to preserve the record for my client.                This is

12 exactly what the defense was complaining about.           This

13 is far afield with regard to drug expertise.           This is

14 purely based upon his investigation and his view of

15 Derrick   Bynum , based upon his discussions with            a

16 cooperator    or cooperators.       It has nothing to do with

17 his expertise an d his years of training          .     For that

18 reason , I would both object and move to strike.

19           MR. MITCHELL:    Further, there is nothing in that

20 phone call that would give anybody the impression that

21 there was anything physical that she was concerned

22 about.    It could be financial       , it could be

23 embarrassment; i t could be getting her in trouble                ,

24 getting arrested.      But to come to the conclusion that

25 it's physical -- she's concerned about her physical




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 1 health in some manner -- is way beyond the scope and,                      I

 2 think, prejudicial.         I don't    see how he could come to

 3 that conclusion.

 4            MR. WARD:     I would move on behalf of all

 5 defendants to order the        Court to strike that

 6 characterization from the record and instruct the jury

 7 that they must disregard it.

 8            MS. JOHNSTON:     Your Honor , I expected the

 9 witness to say that he was discussing with                Mr. Bird the

10 incident that had happened with           Mr. Bynum with the bad

11 cocaine.     I didn't expect him to go into that kind of

12 detail.     I don't have any objection to the             Court

13 striking his response and telling the jury to disregard

14 it , and I will ask him a leading question and leave it

15 at that .    T hat's wh at I expected      to do.

16            THE COURT:     I will    grant the motion, and         I will

17 instruct the jury to disregard it.

18            MR. MONTEMARANO :       On behalf of the defense        , we

19 accept    Ms. Johnston's explanation       , but we request the

20 Court instruct     Ms. Johnston       to , shall we say , advise

21 Sergeant    Sakala to be a bit more circumspect in the

22 future with regard to this kind of thing             .

23            THE COURT:    First of all    , I'm going to sustain

24 the objection.         I'm going to grant the       Motion to

25 Strike , and I'll tell them to disregard it.             There is




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 1 not going to be that        much more testimony today.        She

 2 can certainly confer with him and give him a lesson not

 3 to go over that kind of material.

 4            MR. MONTEMARANO :    Thank you , Your Honor .

 5                         (B ack in open court.    )

 6            THE COURT:    The objection is sustained.

 7            Ladies and gentlemen    , disregard the last remark

 8 about murder, please.       Do not consider that.

 9            BY MS. JOHNSTON:

10 Q.         During the incident that      Ms. Bird and Mr. - --

11 Ms. Martin and Ms. Bird are discussing, is that the bad

12 cocaine that we had discussed that -- the conversations

13 on April --

14            MR. SUSSMAN :    Objection , Your Honor.       Ms.

15 Johnston is doing exactly what she wasn't supposed to

16 do which is summarize the testimony asking about the

17 question .

18            THE COURT:    O verruled.

19            BY MS. JOHNSTON:

20 Q.         Is that the incident that         Ms. Martin and     Mr.

21 Bird are discussing in this call         ?

22 A.         Yes.   That's the cause of        Ms. Martin's concern

23 is the bad deal or bad        drugs that we discussed about in

24 previous    calls.

25 Q.         If we could move on to the next call         , B3056 , on




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1 Page 304.

2          Who are the parties to that call         ?

3 A.       Paulette    Martin and    George   Harris.

4 Q.       Is it accurately re flected        on the    CD?

5 A.       Yes.

6 Q.       Is there any particular code words used in that

7 call ?

8 A.       No.     He's just saying that he's going to stop

9 by.

10 Q.      If we could go to call B3082 on Page 305.           On

11 what date does this call take place?

12 A.      This was on April 8, 2004        , at 5 :07 p.m.

13 Q.      Is this the first of a series of calls involving

14 Ms. Martin,     Mr. Nunn, and Ms. Levi?

15 A.      Yes .

16 Q.      Okay.    What are the calls that are all related?

17 A.      B3082,    3083, A92 6, B3180, E321, B3188 , 3189,

18 E345, B3190, A934 and B3191.

19 Q.      You referenced      E calls .    W hat does the     "E" refer

20 to?

21 A.      By this time , we were also intercepting the

22 cellular telephone of      Gwen Levi .     T he E call is    E line

23 designates calls intercepted on her telephone.

24 Q.      What's the time span of these calls?

25 A.      The first call was on April 8, 2004           , at 5 :07




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 1 p.m. and the last call       , which is actually A940           , is on

 2 April 9   at 7 :57 p.m.

 3 Q.        If we could begin then with B3082          , which is on

 4 Page 305.    Who are the parties to this call           ?

 5 A.        Paulette   Martin and    Larry Nunn .

 6 Q.        If we could play it     , please.

 7           (Audio r ecording begins       playing    at 1 :45 p.m. )

 8           (Audio   recording stops      playing    at 1 :45 p.m. )

 9           BY MS. JOHNSTON:

10 Q.        Go to 3083 on    Page 306.      When does this call

11 take place in relation to the preceding call                ?

12 A.        Right after the call.         It was 5 :08 p.m. to        Gwen

13 Levi.

14 Q.        If we could play this call       , Page 306.

15           (Audio   recording begins      playing at    1 :45 p.m. )

16           (Audio   recording stops      playing    at 1 :46 p.m. )

17           MS. JOHNSTON:      T he next call, B3087 on Page 308.

18           (Audio recording     begins    playing    at 1 :46 p.m. )

19           (Audio recording     stops playing       at 1 :47 p.m. )

20           MS. JOHNSTON:    And the next call        , A926 , on Page

21 310.

22           (Audio r ecording begins       playing    at 1 :47 p.m. )

23           (Audio recording     stops playing       at 1 :47 p.m. )

24           MS. JOHNSTON:    The next call      , B3180 , on Page

25 312.    If we   could play it , please.




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 1            (Audio re cording begins         playing    at 1 :47 p.m. )

 2            (Audio recording        stops playing      at 1 :48 p.m. )

 3            BY MS. JOHNSTON:

 4 Q,         Then E321 on Page 313.        Who are the parties to

 5 this call?

 6 A.         Gwen Levi and        Claude   Arnold.

 7            (Audio r ecording begins         playing    at 1 :48 p.m. )

 8            (Audio recording        stops playing      at 1 :49 p.m. )

 9            BY MS. JOHNSTON:

10 Q.         B3188 , again , is taking place on the same date

11 as the preceding call , April 9th?             B 3188 ?

12 A.         Yes, it takes place at 6         :38 on    4/9, April 9th.

13 Q.         If we could please play 3188 on Page 315.

14            (Audio     recording begins      playing    at 1 :50 p.m. )

15            (Audio recording        stops playing      at 1 :50 p. m. )

16            BY MS. JOHNSTON:

17 Q.         And if we        could go to the next call     , B3189 .

18            When we look at that transcript on             Page 317 ,

19 there is a     -- un der the call number , there is a slash

20 and the number E344.          What does that mean,         Detective

21 Sakala ?

22 A.         That means it was intercepted on both of those

23 lines .    O n the B line , it was call 3189          ; on the    E line ,

24 it was call         E344.

25 Q.         Ok ay.




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 1 A.       The two phone s are talk ing to each other.

 2 Q.       Again on    the same day , April 9th ?

 3 A.       Yes , at 6 :45 p.m.

 4 Q.       If we could play the call, please.

 5          (Audio r ecording begins       playing    at 1 :51 p.m. )

 6          (Audio recording      stops playing at      1:5 1 p.m. )

 7          BY MS. JOHNSTON:

 8 Q.       And the next call , E345 , o n Page 320 does that

 9 take place similarly on        April 9th?

10 A.       Yes .    T his is the next call on       Gwen's line .

11 After she hangs up     , she calls    Mr. Arnold.

12 Q.       Immediately after she hangs up?

13 A.       Yes.

14 Q.       If we could please play E 345 on Page 320.

15          (Audio    recording begins     playing    at 1 :53 p.m. )

16          (Audio recording stops playing           at 1 :53 p.m. )

17          BY MS. JOHNSTON:

18 Q.       The next call , B3190 , or E347, on Page 321 , when

19 does that happen in relation to the previous call?

20 A.       Immediately     thereafter , after the call we just

21 heard.

22 Q.       If we could play B3190 on Page 321          .

23          (Audio r ecording starts       playing    at 1 :53 p.m. )

24          (Audio recording      stops playing      at 1 :54 p.m.)

25          BY MS. JOHNSTON:




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 1 Q.       The next call , A934 , on Page 323 , what's the

 2 time of this call?

 3 A.       This was on the      9th at 6 :46 p.m.

 4 Q.       If we could play it      , please.

 5          (Audio r ecording begins        playing    at 1 :55 p.m. )

 6          (Audio recording      stops playing at       1:55 p.m. )

 7          BY MS. JOHNSTON:

 8 Q,       calling your attention to         Call B3191 on Page

 9 324.   What time does this call take place?

10 A.       6:50 p.m.

11 Q.       If we could play it      , please.

12          (Audio r ecording starts        playing    at 1 :56 p.m. )

13          (Audio recording      stops playing       at 1 :56 p.m. )

14          BY MS. JOHNSTON:

15 Q.       The next call , A940 , on Page 325.

16 A.       That was at 7 :57 p.m. on the        9th.

17 Q.       Okay.   You may play it     .   T hank you.

18          (Audio r ecording begins        playing    at 1 :56 p.m. )

19          (Audio recording      stops playing at       1 :56 p.m. )

20          BY MS. JOHNSTON:

21 Q.       In addition to these calls        , did you also have

22 occasion to review the pole camera?

23 A.       Yes.

24 Q.       And that would be      Government's       Exhibit V -14; is

25 that correct?




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 1 A.        Yes.

 2 Q.        Okay .    W ell , if we could start with the calls

 3 first .   T he first call , B3082 on      Page 305 .    I nitially

 4 -- strike that .

 5           Preliminarily , did you form an opinion as to

 6 what occurred on       April -- between the calls on        April 8

 7 and the last call that occurred on           April 9 th of 2004?

 8 A.        Yes.

 9 Q.        What is that?

10 A.        Mr. Nunn contacted      Ms. Martin and ordered 30

11 grams of heroin.        Ms. Martin relayed that order to         Ms.

12 Levi.     Ms. Levi was at a hairdresser in         Washington,

13 D. C. and didn't have a car to          tran sport the heroin up

14 to Ms. Martin's residence.       She then reached out to            Mr.

15 Arnold,    Claude   Arnold , gave him the 30 grams of heroin            ,

16 who then transported it to the house on            Hayward,    gave

17 it to Ms. Martin .       Ms. Martin , in turn , gave it to       Mr.

18 Nunn .

19 Q.        In looking at     B3082 on Page 305    , is there

20 anything in that call that         su pport s your conclusion

21 that it   was 30 grams of heroin?

22 A.        Second line , Mr. Nunn says 30 of those.

23 Q.        Now, the next call    , B3083 , between      Ms. Martin

24 and Ms. Levi , happens a minute after the preceding call

25 or immediately after it?




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1 A.       Yes.

2 Q.       Okay.    And what is the code word used in this

3 call between      Ms. Levi and    Ms. Martin?

4 A.       Ms. Martin tells        -- in the second line there         ,

5 Ms. Martin      tells Ms. Levi that       Larry , meaning   Larry

6 Nunn, wants a bottle of those vitamins with 30

7 multivitamins , referring to the 30 grams of heroin.

8 Q.       If you could write on our          code list "vitamins "

9 and Page 306.

10 A.      (Witness indicating.       )

11 Q.      Are you familiar with the items re          covered    from

12 Ms. Levi's house on      Digger's      Lane?

13 A.      Yes.

14 Q.      In Elk Ridge, Maryland?

15 A.      Yes.

16 Q.      Any indication in reviewing those items that                    Ms.

17 Levi was involve d in the distribution of multivitamins?

18 A.      No, she was not.

19 Q.      Now , if we could go to the next call, B3087            ,

20 that happens approximately how many minutes later?

21 A.      About four minutes later         , at 5 :11 p.m.

22 Q.      Is there anything in this call that supports

23 your conclusion that he was ordering heroin?

24 A.      Fourth line down , Ms. Martin tells          Mr. Nunn that

25 she would have to be here in the morning           , meaning   Gwen




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 1 Levi would try to be there in the morning           .   A nd then at

 2 the end of the call     , near the bottom of the page       , she

 3 confirms that it is a sure thing.       In other words, a

 4 deal is going to happen     , and Mr. Nunn assures her that

 5 it is.

 6 Q.        Is there a code word used for drugs in this

 7 call?

 8 A.        No, I do not see one.       Oh , I'm sorry , in the

 9 middle of the p age .     Ticket s.

10 Q.        If you could write 308 next to our code word

11 "tickets " on the board.

12 A.        (Witness indicating.    )

13 Q.        Beginning with call     A926 , is that call on      April

14 9th , is that the first of the        April 9th calls?

15 A.        Yes , at April 9th at 4 :02 p.m.

16 Q.        Many what -- at what time?

17 A.        4:02 p.m.

18 Q.        Okay.   And is there anything      drug-related in

19 that particular call?

20 A.        Mr. Nunn confirms     it's for 30 grams of heroin       ,

21 saying it's a 30 .      Ms. Martin doesn't hear him he

22 repeats it's 30 tickets     , referring     to 30 grams of

23 heroin.

24 Q.        If you could write Page 310       next to " tickets " on

25 the board .




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 1 A.        (Witness indicating         .)

 2 Q.        There's a reference on Page 312 to having to

 3 pick up    John by   Ms. Martin .

 4           Do you know what       she 's referring to?

 5 A.        I'll try to pick up          John?

 6 Q.        Page 312 .

 7 A.        Again, dealing with his work at the                 Metro,

 8 providing rides to him       .

 9 Q.        Now if we could got to           E321 on    Page 313.        Based

10 upon your training and experience              , what is      Ms. Levi

11 asking    Mr. Arnold to do?

12 A.        Yeah.   The middle of the page, she's -- there's

13 a mistake in the tran      scription       where it says , Gwen Levi

14 says I don't have a chance to page.             What she actually

15 says is , I don't have transportation.              Not chance to

16 page .    I t's I don't have transportation            .

17           And Ms. Levi tells          Mr. Arnold that he's at the

18 hairdresser's and that she doesn't have a ride                   , and

19 he's asking her to take up ticket              s.

20 Q.        Who is asking whom      ?

21 A.        I'm sorry .    Ms. Levi is asking           Mr. Arnold to

22 take tickets up to       Ms. Martin's house          , at the    bottom,

23 saying you can take the tickets up there                   , too, for    me ,

24 if you want to .       I'm at the hairdresser's.               Saying you

25 can take the heroin       up to Ms. Martin's house.




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 1 Q.         If you would make a notation on Page          313 next     to

 2 the word    "tickets ".

 3 A.         (Witness indicat ing.)

 4 Q.         There's a reference      in there   to sister,    sister .

 5 Who does that refer to?

 6 A.         Ms. Martin and     Ms. Levi would both refer to          Mr.

 7 Arnold as brother      , and he would refer to both of them

 8 as sister, sister      .   S o that reference there to sis is

 9 refer ring to      Ms. Martin.

10 Q.         Then if we could      go on to call B3189 on      Page

11 317.    Ms. Levi refers to her brother -- my brother

12 coming to see you.          Who is the brother they're

13 referring to?

14 A.         Mr. Arnold.

15 Q.         Okay.   And is there a drug code reference         d in

16 that call?

17 A.         About halfway -- about four or five lines up

18 from the bottom,       I gave him the tickets for you       , Ms.

19 Levi says , meaning        I gave him the 30 grams of heroin to

20 give to    Ms. Martin.

21 Q.         And does that, likewise, occur again on           Page

22 318?    The reference to tickets for heroin?

23            Calling your attention to seven lines up from

24 the bottom on       Page 318 .

25 A.         Yes , I'm sorry.      I'm a little slow.   She says --




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 1 Ms. Levi says , he came past here           , meaning   Mr. Arnold ,

 2 came back past hire at          4 o'clock   an d got the heroin ,

 3 got the ticket s.

 4 Q.         If you could write 317 and 318 on the board.

 5 A.         (Witness complies.)

 6 Q.         Then if we could go to call B3190 on Page 321.

 7 There is a reference in there         , Ms. Martin asks        Ms.

 8 Levi , do you      want me to give him the papers for that?

 9 Based on your training and experience            , what is     Ms.

10 Martin asking       Ms. Levi?

11 A.         She's got the --      Ms. Martin has the money for

12 the heroin purchase and          she 's asking   Ms. Levi whether

13 Ms. Levi wants       Ms. Martin to give the money to           Claude

14 Arnold or whether       Ms. Martin should hold on to           it.

15 Q.         What does   Ms. Levi tell her to do?

16 A.         She says to hold on to it        , not give it to     Claude

17 Arnold .    S he says , no , you don't have to.

18 Q.         Then on A 934 Page 323.     There is a call between

19 Ms. Martin and       Mr. Arnold discussing where he

20 references her as       Sis.

21 A.         Yes.

22 Q.         Is that a common term he used when he spoke with

23 Ms. Martin?

24 A.         Yes, h e would call her      Sis frequently.

25 Q.         Okay.   Now on   Page B3191 , what is -- based upon




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 1 your training and experience        , what is      Ms. Martin

 2 telling    Mr. Nunn at roughly ten minutes to            7:00 ?

 3 A.        She tells Mr. Nunn that she's going to drop it

 4 an d leave it , meaning      Ms. Levi is going to drop the

 5 heroin and leave it with her        .    Then the second part ,

 6 she says she just now called        , and she's sending it by

 7 somebody , meaning somebody else is bringing it              ,

 8 referring to     Mr. Arnold , is bri nging it because she is

 9 at the    hairdresser's,     meaning    Ms. Levi     is still at       the

10 hair dress er 's .

11 Q.        Did you have a an opportunity to view V            -14 , the

12 pole camera video for        April 9th ?

13 A.        Yes.

14 Q.        In your reviewing that        , were you able to

15 identify vehicles that were coming and going?

16 A.        Yes.

17 Q.        Can you tell us approximately what times and

18 what vehicles you observed       , or who you observed

19 associated with those vehicles arrive at the residence

20 and depart?

21 A.        At approximately     7 o'clock , Mr. Arnold arriv ed

22 in his    Thunderbird,     and he stayed there until 7           :38

23 when he left.

24 Q.        Do you recall whether         or not the time he was

25 there the video reflects whether            or not    Ms. Martin left




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 1 and returned during the time period?

 2 A.       I don't recall      if she did or not.

 3 Q.       Okay.

 4          MS. GREENBERG:       Well , Your Honor , I notice what

 5 the time is.       I don't know if the      Court wants me to

 6 play the video now or if we'll wait until             Tuesday.

 7          THE COURT:    Is this the video for this date?

 8          MS. JOHNSTON:     Yes.

 9          THE COURT:     Go ahead and play the video and

10 we'll finish up with that.

11                  (Video begins playing at 2        :07 p.m.)

12          THE WITNESS :     This is     Mr. Arnold's   Thunder bird

13 pulling up and he parks in the same place he usually

14 does.

15          BY MS. JOHNSTON:

16 Q.       This video is going rather fast.         Can you

17 explain to us why it does that?

18 A.       I think    Detective     Eveler had it a little faster

19 there.   But it's broken up       .    I f you see the image

20 appears choppy , that's because of the time lapse.             If

21 you look at the N     o. 8 in the upper , left-hand corner          ,

22 that means the time lapse recorder was set to record in

23 an eight -hour period .      I t doesn't re -record constantly          .

24 It records a frame every sec          ond or half sec ond .

25 Q.       So what we've see there is          Mr. Arnold ; is that




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 1 correct ?

 2 A.         Yes .    H e parked his car and walked up to the

 3 residence.

 4 Q          Now if we could fast forward it.

 5            What are w e observing here?

 6 A.         This i s Ms. Martin lea ving the residence going

 7 to her red        Mercedes , and I believe     she talked about it        ,

 8 going to pick up her boyfriend          , Mr. John     Martin , from

 9 work.

10 Q.         And this is at the time reflected there           , roughly

11 7:08?

12 A.         Yes.

13 Q.         In the evening.     If we could fast forward it

14 again, please.

15            Now , based upon the video      , where is    Mr. Arnold

16 at this time ?

17 A.         He's still in the house.

18 Q.         Was there someone else living in the house?

19 A.         Jac queline   Terrell,    and that's probably       -- I

20 can't be a hundred percent sure           , but th at 's probably

21 her car right in front of           Mr. Arnold's.

22 Q.         Based on your review of the calls, do you             know

23 whether     or not    Mr. Arnold knew     Ms. Terrell?

24 A.         Yes.    They would --     Ms. Martin would frequently

25 remind him to say hello to           Jack ie or something along




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 1 those lines , indicating they knew each other.

 2 Q.        That person we just saw      , did they walk into the

 3 Hayward   address?

 4 A.        A Hayward    address , not the     Hayward   address.

 5 They went to a neighbor.

 6 Q.        Okay.     What are we observing here?

 7 A.        Mr. Arnold is walking out to his car,             I believe.

 8 Q.        Okay .    W hat is he doing now?

 9 A.        Making a    U-turn like he normally does an         d

10 leaving the area.

11 Q.        If we could fast forward.

12           Your Honor , we're moving it as fast as we can

13 here.

14           What are we observing here?

15 A.        This is    Ms. Martin returning home in the red

16 Mercedes .

17 Q.        Is someone else with her in the car?

18 A.        I believe you're going to see         Mr. Martin is

19 going to be w ith her.

20           MS. JOHNSTON:      That concludes the portion of the

21 video,    Your Honor.

22           THE COURT:    All right.    We will recess today and

23 resume on    Tuesday at 9 :30.     Thank you very much.

24                         (Jury excused at 2     :15 p .m.)

25                         (Off the record at 2:15 p.m.)




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 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 June 23, 2006.

11

12       I further certify that the foregoing            167 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 25th day of March 2008.

19

20                              ___________________________
                                TRACY RAE DUNLAP, RPR , CRR
21                              OFFICIAL COURT REPORTER

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23

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